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10     Counsel for Plaintiff
       (Additional counsel listed on signature page)
11
12
                                 UNITED STATES DISTRICT COURT
13
                               CENTRAL DISTRICT OF CALIFORNIA
14
15                                                     Case No. 2:16-cv-03791-JGB-SP
        AMY EVANS, individually and on behalf
16      of all others similarly situated,
17                                  Plaintiff,         REPLY DECLARATION OF
                v.                                     ANNICK M. PERSINGER IN
18                                                     SUPPORT OF PLAINTIFF’S
                                                       MOTION FOR
19      DSW, INC.,                                     DETERMINATION OF
20                                                     WHETHER PLAINTIFF IS A
                                    Defendant.         SUCCESSFUL PARTY UNDER A
21                                                     CATALYST THEORY
22
23
                                                       Hon. Jesus G. Bernal
24
                                                       REDACTED VERSION OF
25                                                     EXHIBIT 107 PROPOSED TO BE
                                                       FILED UNDER SEAL
26
27
28
       REPLY DECLARATION OF ANNICK M. PERSINGER IN SUPPORT OF PLAINTIFF’S MOTION
       CASE NO. 2:16-cv-03791-JGB-SP
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 1   I, Annick M. Persinger, declare as follows:
 2            1.   I am an attorney at law licensed to practice in the State of California. I am
 3   also a member of the bar of this Court and a partner at Tycko & Zavareei LLP, counsel
 4   of record for Plaintiff Evans. I have personal knowledge of the facts set forth in this
 5   declaration, and, if called as a witness, could and would competently testify thereto under
 6   oath.
 7            2.   Attached hereto as Exhibit 107 is a true and correct copy of excerpts from
 8   the March 15, 2018 30(b)(6) Deposition of Julie Roy, DSW Vice President of Customer
 9   Relationship Management, Digital and Analytics.
10            3.   Attached hereto as Exhibit 108 is a true and correct copy of the
11   11/17/2017 sign-in sheet kept in JAMS records in their normal course of business. The
12   sign-in sheet reflects my attendance at the parties’ mediation with Judge Infante.
13            4.   Attached hereto as Exhibit 109 is a true and correct copy of Mark
14   Armstrong & Yongmin Chen, Discount Pricing 5 (Univ. of Oxford, Dep't of Econ.,
15   Discussion Paper Series No. 605, 2012).
16            5.   Attached hereto as Exhibit 110 is a true and correct copy of Dhruv Grewal
17   & Larry D. Compeau, Comparative Price Advertising: Informative or Deceptive?, 11 J. PUB.
18   POL'Y & MARKETING 52, 56 (1992).
19            6.   Attached hereto as Exhibit 111 is a true and correct copy of Donald
20   Ngwe, Fake Discounts Drive Real Revenues in Retail, (Harvard Bus. Sch., Working Paper,
21   2017).
22            7.   Ms. Sheridan states under penalty of perjury in her declaration that “‘Ms.
23   Persinger’s testimony that ‘At the parties’ 2017 mediation, Plaintiff’s counsel made clear
24   that any deal would have to include a practice change component’ (Dkt. 89-1) lacks
25   foundation, as I do not believe that Ms. Persinger attended the mediation. Plaintiff was
26   represented at the mediation by Kristin Law Sagafi. DSW informed Ms. Sagafi at the
27   mediation that the company was planning to change its pricing practices for reasons
28
     REPLY DECLARATION OF ANNICK M. PERSINGER IN SUPPORT OF PLAINTIFF’S MOTION                     1
     CASE NO. 2:16-cv-03791-JGB-SP                                      C
Case 2:16-cv-03791-JGB-SP Document 97-3 Filed 05/30/18 Page 3 of 96 Page ID #:3402




 1   independent of this case. This presumably is what caused Plaintiff to direct discovery to

 2   DSW on this topic.” See Sheridan Decl. ¶ 10. While Ms. Sheridan states that she does not

 3   believe that I was at the mediation, during the first hour of the mediation, I met with Ms.

 4   Sheridan, as well as her associate, Ms. Meegan Brooks, along with Judge Infante, Kristen

 5   L. Sagafi, and Avi Kaufman.

 6          8.     DSW also states in its Opposition that “Although Plaintiff submitted a

 7   declaration from her counsel, Annick Persinger, concerning the mediation, there is no

 8   record from JAMS that Ms. Persinger actually attended the mediation.” Opp. at 5, n. 2.

 9   That is incorrect. At my direction, on May 23, 2018, my legal assistant Chloe H. Noh

10   obtained Exhibit 108 from JAMS, the sign in sheet from the parties’ mediation, which

11   serves as a record of my attendance at the mediation. Ms. Noh obtained this record with

12   a simple phone call.

13          9.     The argument on the plaintiff’s appeal in Chowning took place just one week

14   ago on May 17, 2018. Before DSW changed its practices, Evans intended to move for a

15   Rule 23(b)(2) and a Rule 23(b)(3) class, and felt confident that even though there is a

16   district court split on Rule 23(b)(3), at the very least, a Rule 23(b)(2) class would be

17   certified.

18          10.    As such, based on the current posture of this case, the tens of thousands of

19   dollars in costs and out of pocket costs, including expert costs, and the hundreds of

20   currently uncompensated attorney hours placed a burden on Evans out of proportion to

21   her individual stake in the matter.

22          11.    Evans’ stake in this action is small—the ability to shop at DSW in the

23   future, the value of the discount that was represented and never received, and, if the

24   Court approves it based on her work in the case, an incentive award. She committed her

25   time. She searched for and produced hundreds of pages of documents, she reviewed

26   court filings, and prepared to be cross-examined by DSW at her depositions.

27          I declare under penalty of perjury under the laws of the United States and the State

28
     REPLY DECLARATION OF ANNICK M. PERSINGER IN SUPPORT OF PLAINTIFF’S MOTION                  2
     CASE NO. 2:16-CV-03791-JGB-SP
Case 2:16-cv-03791-JGB-SP Document 97-3 Filed 05/30/18 Page 4 of 96 Page ID #:3403




 1   of California that the foregoing is true and correct. Executed on May 24, 2018 at

 2   Oakland, California.

 3
 4   Dated: May 24, 2018                     Respectfully submitted,
 5
                                             By:         /s/ Annick M. Persinger
 6                                                     Annick M. Persinger
 7                                           TYCKO & ZAVAREEI LLP
 8                                           Annick M. Persinger (State Bar No. 272996)
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 9                                           Oakland, CA 94607
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11                                           Email: apersinger@tzlegal.com

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     REPLY DECLARATION OF ANNICK M. PERSINGER IN SUPPORT OF PLAINTIFF’S MOTION            3
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          EXHIBIT 107
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   1             IN THE UNITED STATES DISTRICT COURT
   2                CENTRAL DISTRICT OF CALIFORNIA
   3
   4    _______________________________
   5    AMY EVANS, individually and on
   6    behalf of all others similarly
   7    situated,
   8                      Plaintiff,
   9             vs.                                     Case No.
 10     DSW, INC.,                                       2:16-cv-03791-JGB
 11                       Defendant.
 12     _______________________________
 13
 14              VIDEOTAPED DEPOSITION OF JULIE ROY
 15                       Thursday, March 15, 2018
 16                                  10:33 a.m.
 17                                  Taken at:
 18                 41 South High Street, Suite 210
 19                              Columbus, OH
 20
 21     Reported by:
 22     Rebecca Williams
 23     JOB No. 2835659
 24
 25     PAGES 1 - 235

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                                                         ISSN 1471-0498




               DEPARTMENT OF ECONOMICS
                 DISCUSSION PAPER SERIES




                        DISCOUNT PRICING




                    Mark Armstrong and Yongmin Chen




                                 Number 605
                                  May 2012

                  Manor Road Building, Oxford OX1 3UQ
Case 2:16-cv-03791-JGB-SP Document 97-3 Filed 05/30/18 Page 21 of 96 Page ID
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                                    Discount Pricing
          Mark Armstrong                                  Yongmin Chen
       Department of Economics                      Department of Economics
         University of Oxford                    University of Colorado at Boulder
                                             May 2012


                                              Abstract
            This paper investigates discount pricing, the common marketing practice whereby
       a price is listed as a discount from an earlier, or regular, price. We discuss two reasons
       why a discounted price— as opposed to a merely low price— can make a rational
       consumer more willing to purchase the item. First, the information that the product
       was initially sold at a high price can indicate the product is high quality. Second,
       a discounted price can signal that the product is an unusual bargain, and there is
       little point searching for lower prices. We also discuss a behavioral model in which
       consumers have an intrinsic preference for paying a below-average price. Here, a seller
       has an incentive to o¤er di¤erent prices to identical consumers, so that a proportion
       of its consumers enjoy a bargain. We discuss in each framework when a seller has an
       incentive to o¤er false discounts, in which the reference price is exaggerated.

       Keywords: Reference dependence, price discounts, sales tactics, false advertising.


 1     Introduction
 In his account of sales practices, Cialdini (2001, page 12) writes about

          the Drubeck brothers, Sid and Harry, who owned a men’s tailor shop [...]
       in the 1930s. Whenever Sid had a new customer trying on suits in front of the
       shop’s three-sided mirror, he would admit to a hearing problem and repeatedly
       request that the man speak more loudly to him. Once the customer had found
       a suit he liked and asked for the price, Sid would call to his brother, the head
       tailor, at the back of the room, ‘Harry, how much for this suit?’ Looking up
       from his work— and greatly exaggerating the suit’s true price— Harry would
       call back, ‘For that beautiful, all wool suit, forty-two dollars.’ Pretending not
     We are grateful to David Gill, Salar Jahedi, Andrew Rhodes, Mike Riordan, Rani Spiegler, John
 Vickers and Jidong Zhou for helpful discussions.


                                                   1
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       to have heard and cupping his hand to his ear, Sid would ask again. Once more
       Harry would reply, ‘Forty-two dollars.’ At this point, Sid would turn to the
       customer and report, ‘He says twenty-two dollars.’ Many a man would hurry
       to buy the suit and scramble out of the shop with his [...] bargain before poor
       Sid discovered the ‘mistake’.

    As this anecdote suggests, consumers are more likely to buy an item if they perceive
 it to be a bargain. This is easily understood when the consumer is given an accidental
 discount, as occurs for instance if she sees that the product she wants has been given the
 wrong price tag. If the product’s genuine price— which re‡ects its cost, quality and/or
 competitive environment— is $42, but by chance the consumer can get the product for
 $22, this represents genuine value-for-money and will make the consumer more inclined to
 purchase. This rational response to an accidental discount is exploited by the Drubecks’
 fraudulent sales tactics.
    What is more of a challenge is to explain why consumers might care about receiving a
 deliberate discount from a seller, as opposed simply to obtaining a low price. For instance,
 a consumer may be more likely to buy a jacket priced at $100 accompanied by a sign which
 reads “50% of its previous price”than he/she would be if the price were merely stated as
 $100. Alternatively, a retailer might claim its price was $100 even though the “manufac-
 turer’s recommended price”was $200. Despite its prevalence, this pricing practice— which
 we term discount pricing— has apparently received little economic analysis. In the litera-
 ture on sales (for instance, Lazear 1986), consumers care only about the price level, and
 whether a low price is framed as a discount o¤ a higher price plays no role. In this paper,
 we explore the economics of discount pricing, focussing on the potential information con-
 tent of a discount and its strategic implications. Our analysis is developed in two models
 that suggest di¤erent reasons why rational consumers care about discounts, as well as in
 a third model with behavioural consumers.
    First, in section 2, uninformed consumers rationally take a monopoly seller’s initial price
 as a signal of its choice of quality, and so are willing to pay more for the product when they
 observe the initial price was high. The …rm sells its product to two groups of consumers,
 one of which can accurately determine the product’s quality while the other group, the
 casual buyers, cannot. The monopolist can price discriminate between the two consumer
 groups using inter-temporal pricing, and the second group can use the price o¤ered to the
 …rst group, when they observe it, as an indicator of quality. In this framework, it is more
 likely that the …rm has an incentive to supply a high-quality product when casual buyers

                                               2
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 can observe its initial price. Thus, the …rm’s ability to write “was $200, now $100”, if
 credible, may induce it to provide a high-quality item.
    In the second model, presented in section 3, the knowledge that a product is o¤ered at
 a discounted price induces consumers to buy immediately rather than investigate a rival’s
 price. Two …rms compete to sell to consumers, and either …rm o¤ers one of two prices: a
 full price or a sale price. (Price variation is generated by exogenous demand variation.)
 When a product is o¤ered on sale, a consumer buys immediately even if that price is
 relatively high, and so a consumer cares about whether a discount is o¤ered rather than
 the level of the actual price. If a consumer is given no credible information about whether
 the current price is discounted or not, she must judge how likely it is that the next price
 will be higher, given the current price, and buy accordingly. This inability to …ne-tune her
 search process can cause welfare losses.
    In our third model, in section 4, consumers intrinsically care about getting a bargain.
 Studies in behavioral economics (discussed shortly) have focused on how “reference prices”,
 which can sometimes be manipulated by a seller’s marketing activities, a¤ect purchase
 decisions. In our model, a bargain is a price below the …rm’s average o¤ered price. If
 consumers observe the …rm’s prices to all consumers, the …rm responds to the “demand
 for bargains” by o¤ering distinct prices to otherwise identical consumers. If the demand
 curve is concave, the …rm follows a simple “high-low”pricing strategy with just two prices,
 a full price and a sale price. If instead consumers see only their own price, but hold
 equilibrium beliefs about the average price, the …rm again has an incentive to pursue a
 high-low policy, but one with lower prices relative to when consumers see the prices o¤ered
 to all consumers. When its prices are secret, the …rm has a greater incentive to undercut
 its anticipated average price to some consumers, since others do not see this price cut and
 cannot react to it.
    If, for whatever reason, consumers care about getting a discount, a seller may have an
 incentive to exploit this by making false claims about its previous or regular price. The
 outcome when these deceptive marketing tactics are used depends on the “savviness” of
 consumers. If consumers are aware that sellers are able to misrepresent their reference
 price without penalty, they will simply regard such sale signs as pu¤ery and pay them no
 attention. The result is that a potentially useful channel of information is absent. However,
 if instead consumers are more gullible and believe a …rm’s false claims (when such claims
 are plausible), the outcome is worse, as these consumers may be induced to pay more for
 the product than they would otherwise.


                                              3
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        The media regularly features stories in which a seller’s claimed discounts are alleged
 to be …ctitious. For instance, a supermarket’s heavily advertised 15% average price re-
 duction may have been preceded by an unadvertised gradual price rise cancelling out the
 reduction. In Britain, a legal case involved the “O¢ cers Club” chain of clothing stores,
 where it was alleged that only a tiny share of sales were made at the regular price and
 the great majority of items were sold at “70% o¤” this supposed regular price.1 Several
 jurisdictions have rules in place to combat false discounting.2 In the United States, the
 Federal Trade Commission’s Guides Against Deceptive Pricing (para. 233.1) distinguishes
 between genuine and …ctitious discounts. For instance, “where an arti…cial, in‡ated price
 was established for the purpose of enabling the subsequent o¤er of a large reduction - the
 ‘bargain’being advertised is a false one; the purchaser is not receiving the unusual value he
 expects. In such a case, the ‘reduced’price is, in reality, probably just the seller’s regular
 price.”3
        There are a number of earlier contributions which discuss issues related to our models.
 Our …rst model, where an initial price of a product signals its quality, builds on a large
 literature which studies how (current) price can signal quality. For instance, Bagwell and
 Riordan (1991) present a model where a …rm has private information about the exogenous
 quality of its product. They …nd that high and declining prices signal high product quality:
 the …rm distorts its price above the full-information level in order to signal high quality,
 and, as more consumers become informed, there is less price distortion in later periods.
 While their motivation is di¤erent from ours and their insights are derived mainly in a
 setting where the …rm’s current price signals quality, they also consider an extension where
 consumers can observe the …rm’s past price. In this case, the …rm’s prices may be more
 distorted in period 1 but less distorted in period 2, compared to when past price is not
 observed, and they …nd that the high-quality …rm has an incentive to reveal past price
 information to uninformed consumers. Thus, when a …rm makes sequential sales of a
 product, the exogenous quality of which is the …rm’s private information, a policy that
    1
       The England and Wales High Court (Chancery Division) found that the seller engaged in “misleading
 advertising”. See details in the judgement of 26 May 2005 of Justice Etherton of the case between the
 O¢ ce of Fair Trading and The O¢ cers Club Ltd., www.bailii.org/ew/cases/EWHC/Ch/2005/1080.html.
 For instance, in paragraph 16 of this judgement, it states that between 1 September 2002 and 28 June
 2003 only 0.15% of the total number of items sold in the chain of stores were at the “full price”. The
 judgement also discusses similar cases in other countries, such as Colorado vs. May Department Stores in
 the United States (para. 59), and Commissioner of Competition vs. Sears Canada Inc. in Canada (para.
 63).
     2
       Some jurisdictions also have policies to prevent permanent sales by requiring all sales to occur on
 stipulated dates. Thus the winter sales in Paris in 2012 had to take place between 11 January and 14
 February.
     3
       This document can be downloaded from www.ftc.gov/bcp/guides/decptprc.htm.


                                                    4
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 bans false discounts would boost pro…t.
       Muris (1991, section IIIC) and Rubin (2008, section III) discuss how the FTC has
 ceased …ghting …ctitious pricing cases in recent years, in part because it was often rival
 sellers— not consumers— who used the FTC’s Guides to prevent a …rm’s heavy discounting,
 and in part because of a perception that any focus on price was potentially pro-competitive.
 However, our second model in section 3 suggests that complaints by rivals about a …rm’s
 false sales can have a procompetitive motive: false discounts discourage consumers from
 investigating rival o¤ers and deprive the rivals of opportunity to compete e¤ectively. In
 these settings, preventing false discounting can lead to more e¤ective competition.
       Models and experiments from psychology and behavioral economics o¤er a number of
 insights on the use of discount pricing.4 Thaler (1985) proposes a model of consumer
 behaviour in which the context of a transaction matters to a consumer as well as the
 transaction itself. One implication of this theory is that …rms can pro…t from a high
 “suggested retail price”, which serves as a reference price, and a lower selling price may
 then provide consumers with a “transaction utility”. Bordalo, Gennaioli and Shleifer (2012)
 develop a model of salience in consumer decision making, which they use to explain a
 number of perplexing phenomena. Their analysis suggests that, by raising consumers’
 valuation of quality through salience, …rms can bene…t from “misleading sales”— arti…cially
 in‡ating the regular price and simultaneously o¤ering a generous discount. Jahedi (2011)
 experimentally investigates a kind of “bargain”which we do not study in this paper, where
 a seller o¤ers two units of its product for little more than the price of one unit. He shows
 how consumers are less likely to buy two units when faced with the choice from {buy
 nothing, buy two units for $1} than they are when faced with the larger choice set {buy
 nothing, buy one unit for $0.97, buy two units for $1}. Jahedi designs the experiments
 so that subjects know that prices have no signaling role (such as the signaling roles we
 analyze in our …rst two models), and deduces that his subjects have an intrinsic “taste for
 bargains”.
       Our third model is a model with consumer reference dependence, where consumers also
 have a taste for bargains. Spiegler (2011a, section 9.4.2) brie‡y outlines a related model,
 although his construction perhaps uses implausibly high prices (higher than any consumer’s
 raw valuation for the product). Most existing models of consumer reference dependence
   4
     Experimental evidence that consumers are in‡uenced by false sales is discussed by Urbany, Bearden
 and Weilbaker (1988). They also found more generally that an advertised reference price— plausible or
 exaggerated— raised consumers’ estimates of the …rm’s regular price and the perceived o¤er value, and
 reduced consumer search for other sellers.



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 focus instead on loss-aversion, where a consumer’s propensity to buy falls when o¤ered a
 price above her reference point. See Heidhues and K½oszegi (2005), Spiegler (2011b), Puppe
 and Rosenkranz (2011) and Zhou (2011) for models involving consumer loss aversion. Much
 of this literature …nds that loss aversion makes a …rm’s prices more rigid, for instance in
 response to cost variation, than would be the case in a “standard” model. By contrast,
 when consumers are bargain-loving, we show that a …rm is more inclined to vary its prices
 than otherwise.


 2         Initial Price as Signal of Product Quality
 In this section we modify a standard static model of quality choice so that the …rm sells
 over time.5 Speci…cally, a monopolist supplies a product over two periods, with its price
 in period t = 1; 2 denoted pt , and chooses its quality ex ante which is then …xed for the
 two periods. The …rm can choose one of two quality levels, L and H, and it has constant
 unit cost ci if it chooses quality i = L; H. All consumers have unit demand. For simplicity,
 suppose the …rm aims to maximize the sum of pro…ts in the two periods.
         A fraction   of consumers are keen and particularly interested in the product: they
 can discern the product’s quality, and they are impatient and wish to buy only in period
 1. Their valuation is vi for the product when its quality is i = L; H. The remaining 1
 consumers are casual buyers: they cannot directly observe quality and buy for simplicity
 only in period 2. (Little of substance in the analysis would be a¤ected if some casual
 buyers also purchased in the …rst period.) Their valuation for the product is vi when
 quality is i = L; H, where the parameter 0 <                   1 re‡ects the plausible situation where
 casual buyers have a lower willingness-to-pay for the item. To avoid discussing sub-cases
 involving non-supply, we assume that

                                                    vL > cH                                             (1)

 so that the high-quality product can pro…tably be sold even to casual buyers who think
 quality is low. We also assume that providing the high-quality product is socially e¢ cient,
 so that
                                        [ + (1        ) ]   v   >   c   ;                               (2)

 where       v   vH    vL and    c    cH     cL .
     5
     This static model is taken from Tirole (1988, section 2.3.1.1), which itself incorporates elements from
 a number of earlier contributions.



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    We study market equilibrium under alternative information assumptions. A consumer
 buys the item if the price is no higher than her willingness-to-pay, which depends on
 observed (if the consumer is keen) or anticipated (if casual) product quality. The …rm’s
 strategy consists of its choice of quality and its two prices. In equilibrium the …rm’s
 strategy is optimal given consumer buying behaviour, while the expectations of product
 quality by casual buyers, which may depend on observed prices, are consistent with the
 …rm’s strategy.
    Consider …rst the case where the casual buyers do not observe the …rm’s initial price.
 A casual buyer’s anticipated quality might depend on the period-2 price. However, all that
 matters for the …rm is the maximum price, say P , which induces a casual buyer to buy
 the product. (If the …rm is going to sell to casual buyers it should set the highest possible
 price, regardless of its chosen quality.) Clearly, we have vL           P   vH , since the value
 of the item to the casual buyers is known to lie between these extremes. From (1), it is
 pro…table to sell to these casual buyers, regardless of their beliefs about quality. Thus,
 given P , the …rm’s pro…t if it chooses to supply the high-quality product is

                                  (vH    cH ) + (1        )(P   cH ) ;

 while its pro…t if it supplies the low-quality product is

                                   (vL   cL ) + (1        )(P   cL ) :

 Comparing these two pro…ts, we see that if

                                                      c
                                              >           ;                                  (3)
                                                      v

 the unique equilibrium is for the …rm to provide a high-quality product, and the …rm’s
 prices fully extract consumer surplus so that p1 = vH and p2 = vH . Thus, if the fraction
 of informed buyers is large enough, the …rm makes more pro…t by serving these buyers
 with their preferred product than by supplying a low-cost product to all consumers. By
 contrast, if   <   c=   v   the unique equilibrium is to provide a low-quality product, and
 prices are p1 = vL and p2 = vL . We summarize this discussion as:

 Lemma 1 Suppose that casual buyers cannot observe the …rm’s initial price. If the frac-
 tion of keen buyers is large enough that (3) is satis…ed, the unique rational expectations
 equilibrium is for the …rm to supply a high-quality product, and to choose prices which fully
 extract consumer surplus (i.e., p1 = vH ; p2 = vH ). If the fraction of keen buyers is small
 enough that (3) is strictly violated, the unique rational expectations equilibrium is for the

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 …rm to supply a low-quality product, and to choose prices which fully extract consumer
 surplus (i.e., p1 = vL ; p2 = vL ).

    Consider next the case where casual buyers do observe the initial price. For instance,
 they see a price label which truthfully states “was $200, now $100”. A similar argument
 to that used for Lemma 1 establishes that when (3) holds, providing high quality is the
 unique equilibrium. But now, even if (3) fails, high quality can be supported in equilibrium.
 Speci…cally, suppose the …rm chooses a particular initial price p1 such that vL < p1                 vH .
 Suppose given p1 that the maximum price which induces the casual buyers to buy is P ,
 where as before P lies in the range vL         P           vH . Then the …rm’s pro…t if it supplies a
 high-quality product is
                                  (p1   cH ) + (1           )(P            cH ) ;

 while its pro…t if it provides a low-quality product is

                                        (1      )(P         cL ) :

 (For this last expression, note that the …rm does not sell to the informed buyers since
 vL < p1 .) Thus, supplying a high-quality product is more pro…table if

                                         (p1     cL ) >        c   :                                  (4)

 In particular, we see that a higher initial price makes it more likely that o¤ering a high-
 quality product is pro…table, and in this sense a high initial price acts as a signal to casual
 buyers that quality is high. The reason is that a high initial price makes deviating to low
 quality more costly for the …rm: if it deviates to low quality, it must forego serving the keen
 (informed) buyers and serving these buyers is more pro…table with a higher initial price.
 Setting p1 = vH in (4) implies that …rst-best pro…t— where the …rm supplies a high-quality
 product and chooses prices p1 = vH and p2 = vH — is feasible if (vH                cL ) >   c,   i.e., if

                                                        c
                                        >                              :                              (5)
                                               v + [vL        cL ]
 If this condition does not hold, there is no initial price which could convince casual buyers
 that quality is high. In this case the …rm supplies a low-quality item and fully extracts the
 resulting consumer surplus.
    Since condition (5) is less stringent than (3), we deduce that e¢ cient quality provision
 is easier to achieve when the initial price is observed by casual buyers. When (5) holds but
 (3) does not, there is another equilibrium with low quality. As is usual in signaling games,

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 this multiplicity of equilibrium is due to the arbitrariness of beliefs o¤ the equilibrium
 path. For clear-cut statements in the rest of this section, we assume that beliefs o¤ the
 equilibrium path satisfy the “forward induction” re…nement: when seeing a price o¤ the
 equilibrium path, casual buyers reason what quality the …rm could have rationally chosen
 given this price; if it is always optimal for the …rm to choose q, then their belief is that
 quality is q. Then, when (5) holds, high quality is the unique equilibrium.6
        We summarize this discussion as:

 Lemma 2 Suppose that casual buyers can observe the …rm’s initial price. If the fraction of
 keen buyers is large enough that (5) is satis…ed, the unique rational expectations equilibrium
 is for the …rm to supply a high-quality product, and to choose prices which fully extract
 consumer surplus (i.e., p1 = vH ; p2 = vH ). If the fraction of keen buyers is small enough
 that (5) is strictly violated, the unique rational expectations equilibrium is for the …rm to
 supply a low-quality product, and to choose prices which fully extract consumer surplus
 (i.e., p1 = vL ; p2 = vL ).

        If the …rm can credibly reveal its initial price to casual buyers, then when the fraction
 of keen buyers lies in the range

                                               c                  c
                                                          <   <                                      (6)
                                        v + [vL    cL ]           v

 the …rm will wish to do so. (When the fraction lies outside this range, communicating
 its initial price to casual buyers has no impact, as anticipated quality cannot be a¤ected
 by the …rm’s initial choice of price.) Welfare— which equals pro…t in this setting with full
 extraction of consumer surplus— also rises in this case.
        We summarize the discussion as:

 Proposition 1 Relative to a setting where casual buyers cannot observe the initial price,
 if the …rm can credibly communicate the initial price to casual buyers, this weakly (strictly
 if condition (6) holds) increases product quality, pro…t and welfare.

        Now consider the scenario in which the …rm is able to make any claim— true or false—
 about its initial price. If casual buyers are aware that the …rm can make false claims about
 its discount without penalty, they will “discount the discount” and behave just as if they
    6
     At the potential low-quality equilibrium (with p1 = vL and p2 = vL ), consider a deviation to high
 quality with p1 = vH and p2 = vH . Since with p1 = vH it is always optimal for the …rm to choose quality
 H, regardless of what P is, the forward induction re…nement implies that the casual buyers must believe
 that the …rm has chosen H upon seeing p1 = vH . This eliminates the low-quality equilibrium.


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 do not observe the initial price. When the fraction of keen buyers lies in the range (6),
 a policy which prevents …rms making false claims about discounts will induce the …rm to
 switch from o¤ering a low-quality to a high-quality product, which will boost pro…t and
 welfare. The policy opens up a useful channel of information to otherwise uninformed
 buyers. In particular, if the casual buyers are savvy in this manner, the …rm will welcome
 a policy which forbids it from making …ctitious discount claims.
        However, casual buyers might instead be “gullible”and believe the …rm’s claims about
 its initial price when such claims are plausible. For instance, they might mistakenly think
 that e¤ective consumer policy is already in place to prevent misleading price claims.7 If the
 fraction of keen consumers lies in the range (6), then faced with these more gullible casual
 buyers the …rm would not switch to o¤ering a high-quality product. Instead, the …rm would
 produce a low-quality product, actually o¤er the initial price p1 = vL to the keen buyers,
 but claim to casual buyers that its initial price was p1 = vH , who can therefore be charged
 price p2 = vH . The outcome is poor for casual buyers, who su¤er negative consumer
 surplus. Thus, in the case with gullible consumers a policy which prevents misleading
 claims about initial prices not only ensures e¢ cient quality choice (as was the case with
 savvy consumers), but now improves consumer welfare and reduces pro…t.
        The idea that consumers care about a seller’s initial price because it signals product
 quality can be applied to other settings. Consider, for instance, the following variant of
 Lazear’s (1986) model of clearance sales. Suppose that the …rm has only one unit of a
 product to sell, and that the quality of its product, denoted v, is exogenous, uncertain,
 and initially unobserved even by the …rm itself.8 In the …rst period, a keen consumer who
 observes v considers buying the product, and will buy if the initial price p1 is below v. If he
 chooses not to buy the product, a casual consumer in the second period considers whether
 to buy. The casual buyer does not directly observe v, and bases her purchase decision on
 the expected value of v, conditional on the item not having sold in the …rst period. In this
 setting, total supply is limited, and when the casual buyer sees the item on sale in period 2,
 she knows that demand from the keen buyer was low. This causes her to lower her estimate
 of quality. But the information content of the event that the item ends up on sale is less
 when the initial price was high, as fewer informed consumers would have been willing to
 buy at a higher price. That is, expected quality, conditional on the item remaining unsold,
    7
      In an environment where casual buyers do not observe initial prices, there is no di¤erence between
 “savvy” and “gullible” consumers, and both make rational inferences about a …rm’s choice of quality.
    8
      In the fashion context, for example, v might represent whether or not the product’s colour or cut is
 fashionable that season, which is not something the …rm knows in advance.



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 is higher when the initial price was higher.9 Hence, initial price again acts as a signal
 of quality, albeit for a reason very di¤erent to that in our endogenous quality model. It
 can be shown, however, that in this setting …rm pro…t is lower, and consumer surplus is
 higher, when the initial price is not observed. (We will obtain a similar result in our model
 presented in section 4.)


 3         Discounts as a Signal to Buy Immediately
 A second reason why consumers like a discounted price is because this may signal the
 price is unusually low, and they would do well to take advantage of it. This signal could
 potentially operate in two dimensions. In a monopoly context where the …rm sets di¤erent
 prices over time, a discounted rather than full price might indicate the price is likely
 to go up, and the consumer should buy immediately rather than wait for a lower price.
 Alternatively, in a static oligopoly search context, a discounted price from one seller could
 indicate that rival prices are likely to be no lower, and there is little reason to investigate
 other sellers when search is costly. In this section we explore the latter possibility. (The
 dynamic monopoly model can be analyzed in a very similar manner.)
         Before describing the analysis in detail, we point out that to investigate the question at
 hand we need a framework which is more complicated than standard models of search. As
 usual, we require a framework with price dispersion so that consumers sometimes have an
 incentive to search for a lower price. However, in order to discuss the impact of discounted
 prices, as opposed to merely low prices, we need the pattern of price dispersion itself to
 be uncertain from the consumer’s point of view. For instance, if the consumer knew the
 potential prices were pL and pH , then if she …rst encounters pL she knows the other price
 is either pL or pH and so does not bene…t from additional information about whether the
 price is discounted.
         In more detail, suppose two …rms compete to sell a homogeneous product to consumers.
 The two …rms sell repeatedly over time, although all consumers are short-lived and can
 buy only in their own period. A …rm’s price is either pL or pH > pL in each period with
 the probability of the latter being , and price is independently realized in each period and
 across …rms. We refer to pL as the “sale”(or discounted) price and pH as the “regular”(or
 full) price. The market parameters (pL ; pH ; ) are unchanging over time. Thus the regular
 and the sale prices are the same for both …rms, although with probability 2 (1                    ) one
     9
      In Lazear’s model, the second consumer is also well informed about v, and so does not care about the
 initial price.


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 …rm runs a sale while its rival does not. For now we take the process of price determination
 to be exogenous. (The model will be “closed”in a particular way shortly.)
    Suppose there are a number of “searchers”who are imperfectly informed about market
 prices. Speci…cally, they can travel to their local …rm for free and see its price and, if
 desired, buy immediately from that …rm (with an equal proportion of consumers local to
 each …rm), but they need to incur a cost s1 to travel to the second, to them more remote,
 …rm and discover its price. Suppose a consumer can return to buy from her local …rm after
 investigating the remote …rm by incurring the further search cost s2 . Suppose prices are
 such that these searchers will always wish to buy the product from one …rm or the other.
    The ideal search rule for such a consumer, given known tari¤ parameters (pL ; pH ; ), is
 simple. If the consumer knows the local price is the sale price she will buy immediately, as
 the rival’s price cannot be lower. If the consumer knows the local price is the full price, she
 may decide to investigate the rival’s price in case it turns out to be discounted. If her local
 …rm o¤ers pH , the risk-neutral consumer has an incentive to investigate the remote …rm
 whenever pH     s1 + pH + (1       )pL , i.e., when the expected sale discount (1    )(pH   pL )
 satis…es
                                    (1     )(pH     pL )   s1 :                              (7)

 If the local price is the full price, the consumer will nevertheless buy locally if (7) does not
 hold, as it is not worth incurring the search cost to obtain the small expected discount at
 the rival. A consumer will never return to buy from her local …rm after travelling to the
 remote …rm. This ideal stopping rule depends on whether the local product is o¤ered on
 sale, and on the size and frequency of the sale discount, but not on price levels.
    Now suppose a consumer is initially o¤ered price p from her local …rm, without any
 credible information about whether this price is discounted. She must then decide whether
 to buy immediately purely on the basis of the price level. Moreover, a consumer might
 sometimes return to buy locally after travelling to the remote …rm, thus incurring a double
 search cost s1 + s2 . Suppose that tari¤ parameters (pL ; pH ; ) are uncertain from the
 viewpoint of the consumer. A consumer conditions the distribution of rival’s price p~ on
 the local …rm’s price p, and a consumer who sees local price p will buy immediately if and
 only if
                                p               p; p + s2 g j p] :
                                     s1 + E[minf~                                            (8)

 Here, the right-hand side is the expected expense involved if the consumer travels to the
 remote …rm: the search cost s1 is sunk, but then the consumer has the ability to buy from
 whichever supplier is cheaper (after taking the cost of returning to the local seller into

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 account). The search rule in (8) will in general be ine¢ cient compared to the search rule
 when the consumer knows when the local price is the discounted price, and so we expect
 that credible information about discounts will bene…t consumers.
        To investigate in more detail, we specialize and close the model in the following manner.
 Here, the …rms’price variation is generated by local demand shifts.10 Speci…cally, suppose
 in each period there are also a number of “inert”consumers can buy only from their local
 …rm (to which they can travel costlessly). These consumers have unit demand, and their
 valuation for the unit can take one of three values: VL ; VM or VH , where 0 < VL < VM < VH .
 The market operates in one of two states. In the …rst state, the possible valuations are
 fVL ; VM g, and in any period and for either …rm these two demand realizations are equally
 likely. In the other state, the possible valuations are fVM ; VH g and again these two demand
 realizations are equally likely. Each market state fVL ; VM g or fVM ; VH g is realized ex ante
 with equal probability. A …rm knows which market state is realized, but in a given period
 does not observe its rival’s local demand realization. Suppose each …rm’s production is
 costless.
        The searchers are willing to pay up to VH for a single unit and their search costs are
 s1 = s2 = s, where 0 < s < VH          VM . (The condition s < VH          VM will ensure that the
 consumer will return to buy locally if she discovers the remote price is higher.) The key
 feature of this set-up is that when a searcher knows that local demand is VM , she does
 not know if the market state is fVL ; VM g or fVM ; VH g. We will derive an equilibrium in
 which each …rm sets its price to fully extract surplus from their inert consumers, i.e., a
 …rm chooses p = Vi when its realized local demand is Vi . Intuitively, this pricing behaviour
 is an equilibrium whenever the proportion of searchers is small enough, as then a …rm’s
 incentive to extract surplus from the inert consumers dominates the incentive to keep the
 searchers from investigating the rival …rm.
        For now, take as given this pricing rule by …rms. What is the optimal search rule for
 the searchers? From (8), and given s < VH          VM , a consumer has an incentive to travel to
 the remote …rm when the local price is p = VM (and then to travel back to the local …rm
 if the remote price turns out to be p = VH ) if and only if

                                               1
                                          s    5
                                                 (VM    VL ) :                                      (9)

 A consumer has an incentive to travel to the remote …rm when the local price is p = VH if
   10
    There are other ways to close the model. For instance, we might have inert consumers with a constant
 downward-sloping demand curve, and each …rm has idiosyncratic shocks to its unit cost.



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 and only if
                                                 1
                                           s     2
                                                   (VH     VM ) :                                    (10)

 (Of course, a consumer will buy immediately if she is o¤ered the lowest price VL .) A
 complicating factor is that this search rule may not be monotonic; that is, a consumer
 might search on when she sees the intermediate price p = VM but not if she sees the
 highest price p = VH . The reason is that in the latter case, the consumer knows that the
 low price p = VL is not a possibility, and it might be that this chance of the low price is
 what drives search incentives when p = VM . This possibility is ruled out if condition (9)
 implies condition (10), i.e., if 21 (VH       VM )      1
                                                         5
                                                           (VM     VL ). In particular, if the search cost
 is small enough that
                                 s < 15 (VM       VL )     1
                                                           2
                                                             (VH     VM ) ;                          (11)

 the optimal search rule is to buy immediately if the local price is p = VL and otherwise to
 travel to the remote …rm. (If the local price is p = VM and the remote price is p = VH , the
 consumer will then return to buy locally.) Of course, this search rule is ine¢ cient, as when
 the market state is fVM ; VH g and the consumer is …rst o¤ered price p = VM , she travels to
 the remote …rm even though the price cannot be lower there. Nevertheless, the consumer
 always buys the product at the cheapest price available.
    The following result describes market equilibrium when consumers do not know whether
 their local price is discounted or not:

 Lemma 3 Suppose parameters satisfy (11). Provided the proportion of searchers in the
 consumer population is su¢ ciently small, the following strategies make up an equilibrium
 when searchers have no credible information about whether the local price is discounted:
 (i) each …rm sets its price to extract surplus fully from their inert consumers, i.e., a …rm
 chooses p = Vi when its realized local demand is Vi , and (ii) searchers buy immediately if
 the local price satis…es p    VL and otherwise they travel to the remote …rm.

 Proof. We have already shown that this search rule is optimal given the claimed price
 choice by …rms. To see that …rms optimally price in the stated way given this consumer
 search rule whenever the proportion of searchers is su¢ ciently small, argue as follows.
 Suppose the number of inert consumers is N and the number of searchers is n. Suppose for
 instance that the market state is (VL ; VM ) and a …rm’s demand realization is VM . If the …rm
 follows the stated strategy and sets price p = VM , its expected pro…t is VM ( 21 N + 14 n) since
 its 12 N inert consumers will buy and the 12 n searchers local to the rival …rm will buy from
 it if the rival price is also VM , which occurs with probability 21 . (The …rm’s local searchers

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 will never buy from it.) If the …rm deviates to price p = VL , its pro…t is VL ( 12 N + 34 n), since
 now the …rm’s local searchers will buy from it as well. The latter pro…t is below the former
           n
 when     n+N
                is small. Another potentially pro…table deviation is to set price p = VM               s,
 which will induce all searchers to buy from it in the event the rival price is p = VM , and so
 generates pro…t (VM       s)( 12 N + 12 n). This is below VM ( 12 N + 14 n) whenever the proportion
                          n        2s
 of searchers satis…es   n+N
                               <   VM
                                      .   Similar arguments apply in other situations.


        Note that if searchers could observe whether a …rm’s price was discounted or not, the
 equilibrium outcome would be that a searcher buys immediately if and only if the local
 price was discounted, and …rms continue to set prices to re‡ect local demand conditions.11
 Thus, a simplifying feature of this particular framework is that equilibrium prices are not
 a¤ected by policy towards misleading pricing.
        Suppose the market initially operates in a regime where nothing except the current
 price is revealed to consumers. When does a …rm have an incentive to reveal more details
 about its pricing policy? The …rm’s aim is simple: regardless of its current price state, it
 wishes to deter its local consumers from travelling to the remote …rm. Suppose …rst that a
 …rm can only make truthful claims about its prices. When the market state is fVM ; VH g, a
 …rm will announce that its price is discounted when p = VM , as this will induce searchers to
 buy immediately (while otherwise they would have travelled to the other …rm). Consumers
 are better o¤ if they know when the local price is discounted, as this helps to re…ne their
 search strategy.
        However, a …rm has an incentive to mislead consumers, and falsely to claim its regular
 price is discounted. If …rms are free to do so without penalty, savvy consumers will treat
 any claimed discount as cheap talk— they recognize that a …rm will claim a price p = VM
 is discounted, regardless of whether the market state is fVL ; VM g or fVM ; VH g— and so the
 outcome is as if consumers do not know whether or not the good is on sale. If instead
 consumers are more gullible, they believe a …rm’s false claims whenever such claims are
 possible. In this framework, this implies that when the market state is fVL ; VM g and a
 seller’s price is p = VM , the …rm can claim its price is discounted (i.e., that the market
 state is fVM ; VH g) and induce gullible consumers to buy immediately. (However, these
 consumers are not so gullible that they believe a …rm’s claim that its price p = VH was
 discounted.)
        Expected expenditure from the searchers in the various regimes can be calculated as
   11
     Condition (11) implies that a consumer will travel to the remote …rm if the o¤ered price p = VM when
 the consumers know the market state is fVL ; VM g.


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 follows. In the regime where searchers do not know when a price is discounted, a searcher’s
 expected outlay (including search costs where incurred) is12

                                        3
                                          V
                                        8 L
                                              + 12 VM + 18 VH + 78 s :                                   (12)

 Likewise, when a searcher knows when a price is discounted, her expected outlay is

                                         3
                                           V
                                         8 L
                                               + 12 VM + 18 VH + 21 s                                    (13)

 since she searches less often (although she makes exactly the same purchase decision).
 Finally, if the consumer is more gullible and always believes the price p = VM is discounted,
 her outlay is
                                        1
                                          V
                                        4 L
                                              + 58 VM + 18 VH + 14 s :                                   (14)

 Here, relative to the other regimes, the consumer searches too little and ends up with a
 more expensive product on average.
     In sum, in this stylized framework a policy which prevents …rms from making misleading
 claims about discounts is good for consumers. With such a policy, a …rm will always reveal
 when its price is discounted, and this enables consumers to improve their search strategy.
 Absent the policy, a …rm will always claim its product is on sale, and consumers will be
 worse o¤: savvy consumers will disregard the permanent sale signs and search in ignorance
 of whether the local price is discounted or not; more gullible consumers will fall victim to
 the sale signs and too rarely search for a lower price. Industry pro…ts are not a¤ected by
 policy when consumers are savvy, as consumers make exactly the same purchase decisions
 in either regime. However, if consumers are more gullible, policy which prevents misleading
 price claims will reduce pro…ts, as consumers are more likely to search for a better deal.
     In general, the impact of policy on welfare depends on the underlying process of price
 determination, i.e., on whether pro…t margins are higher or lower when price is high or
 low. However, the impact is easy to understand in this framework where unit costs do
 not vary, since the prices paid by consumers are merely a transfer to …rms and have no
 impact on welfare. Welfare is then inversely related to how much search occurs in the
 various regimes. By inspecting expressions (12)–(14), we see that welfare is highest when
 consumers are gullible and …rms mislead them with false sales, for then search is rare. If
 instead consumers are savvy and disregard false sale signs, then policy to prevent misleading
   12
      For instance, in this regime a consumer will pay the lowest price VL when the market state is fVL ; VM g
 and at least one of the two …rms has price p = VL , which together occur with probability 83 . The consumer
 makes a costly trip with probability 87 , since she searches when the local price is not VL and she makes
 two trips when the local price is VM and the remote price is VH .


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 sales signs reduces the intensity of search and so boosts welfare. In sum, while the impact
 of policy on consumers alone is clear-cut in this model, the impact on overall welfare is
 more complex and depends on the presumed gullibility of consumers.
        We summarize this discussion as:

 Proposition 2 In the oligopoly search setting, when …rms provide accurate information
 about when their price is discounted this bene…ts consumers relative to the situation where
 no such information is available. Consumers buy immediately when they see a discounted
 price. A policy which prevents …rms from falsely claiming discounts will bene…t consumers
 regardless of whether or not consumers believe false sales signs. The impact on welfare
 depends on whether consumers are gullible or savvy.


 4        Selling to Bargain-Loving Consumers
 In our …nal model of discount pricing, we suppose that consumers intrinsically like the idea
 of getting a bargain. Thus, unlike models in sections 2 and 3, here we do not derive why
 it is that consumers care about receiving a discount, but simply take this as given. The
 model here, then, is a behavioural model with reference dependence. Unlike recent papers
 in industrial organization which focus on loss-aversion, we take the less familiar route of
 supposing consumers also enjoy a bene…t if they pay a price below the reference price. In
 our model, the reference price is simply the average price o¤ered by the …rm.13
        Suppose that a monopolist sells to a unit mass of consumers with constant marginal cost
 c, and chooses its price according to a mixed strategy with c.d.f. G(p) which has expected
 value p. (The …rm o¤ering a deterministic price as a special case of this framework.) Note
 that a given consumer is o¤ered a single price, and cannot search for additional prices. To
 be concrete, we might imagine that the …rm makes its price contingent on some arbitrary
 aspect of the consumer (e.g., location) which cannot easily be altered, and so pricing is
 not strictly random. Suppose a consumer’s “raw” valuation for the item is v, which has
 smooth distribution function F (v). If the consumer is given a “rip-o¤” price p                  p then
 she buys if v        R (p   p)    p, where     R     0 is a parameter which re‡ects her aversion
   13
     An important ingredient of any model with reference dependence is how the reference point is deter-
 mined. Broadly speaking, Heidhues and K½oszegi (2005) take the reference price to be the price a consumer
 expect to pay if she decides to buy, while Spiegler (2011b) takes the reference price to be the expected
 price o¤ ered by the seller (where that expected price is a random price draw from the …rm, as might be
 generated by “word of mouth” for example). Puppe and Rosenkranz (2011) describe a model in which a
 manufacturer’s non-binding “recommended retail price” acts as the reference price for consumers, while
 Zhou (2011) studies an oligopoly model in which consumers take the price of one “prominent” seller as
 their reference price when they evaluate other o¤ers.


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 to paying above-average prices. If the consumer gets a bargain price p                           p then she buys
 if v +    B (p     p)        p, where      B     0 is a parameter which re‡ects her enjoyment of the
 bargain.
    Consider to start with the case where consumers are accurately informed about the
 …rm’s price policy (in particular, they know the average price p, which, together with their
 own price, is what they care about). First, we show that it is always pro…table for the
 monopolist to o¤er dispersed prices in this context, provided that consumers care more
 about getting a bargain than they do about avoiding a rip-o¤:

 Lemma 4 When consumers can observe the …rms price policy, the …rm prefers to o¤er
 dispersed prices than a uniform price when

                                                        B   >     R                                                  (15)

 Proof. Let p > c represent any pro…table uniform price (not necessarily the most pro…table
 uniform price). Suppose the …rm deviates from this uniform price by o¤ering two prices,
 pL = p         " and pH = p + " where " > 0, where each price is o¤ered to half the consumer
 population. (This modi…ed strategy leaves the average price unchanged at p.) The …rm’s
 pro…t with this new strategy is

                  1
          (")     2
                    (p   +"    c)(1      F (p + [1 +    R ]"))   + 21 (p   "    c)(1     F (p    [1 +   B ]"))   :

 Di¤erentiating this expression with respect to " shows that

                                      0
                                          (0) = 21 (p   c)f (p)[      B    R]   >0;

 where f ( ) is the density associated with F ( ). Thus, starting from any pro…table uniform
 price, pro…t is increased by implementing a mean-preserving spread in its prices.


    The intuition for this result is clear. Relative to a uniform price strategy, adding
 a small amount of noise to prices reduces demand from those consumers o¤ered above-
 average prices and boosts demand from those who get a bargain, and given (15) the latter
 e¤ect dominates. We deduce that the …rm has an incentive to o¤er at least two prices when
 consumers are more bargain-loving than loss-averse. Clearly, if only a fraction of consumers
 had these preferences (while the rest were “rational”and cared only about their own price),
 the …rm would still have an incentive to pursue this dispersed pricing policy. If instead
 consumers were more loss-averse than bargain-loving, so                         B   <   R,   then the …rm has no
 (local) incentive to disperse its prices. In sum, the presence of bargain-loving consumers

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 gives the …rm an incentive to o¤er distinct prices to otherwise identical consumers: in order
 to satisfy a “demand for bargains”, the …rm creates bargains by arti…cially dispersing its
 prices.
        If we assume that the demand curve 1         F is weakly concave, one can show that the
 …rm will use only two prices in its optimal pricing policy. In order to derive this optimal
 policy, we suppose that the …rm is restricted to o¤er prices which are sometimes accepted
 by consumers. (Or equivalently, that consumers ignore any price which is so high that
 demand at that price is zero when they calculate the average price.) Let vmax be the
 maximum valuation in the support of v. (Since the demand curve is concave, we know
 there is such a valuation.) Stated precisely, the …rm is restricted to choose a price policy
 such that
                                    pmax +    R (pmax    p)    vmax ;                               (16)

 where pmax is the …rm’s maximum o¤ered price and p is its expected o¤ered price. This
 assumption rules out a strategy in which the …rm o¤ers arbitrarily high prices to a tiny
 fraction of consumers, which are not accepted, which would then make p arbitrarily large
 without signi…cant cost to the …rm.14

 Lemma 5 Suppose consumers have a preference for bargains in the sense that (15) holds
 and can observe the …rm’s price policy. If demand 1           F (v) is weakly concave and the …rm
 chooses prices which satisfy (16), the …rm wishes to use exactly two prices in its pricing
 scheme.

 Proof. To avoid technicalities, suppose the …rm o¤ers a …nite number of distinct prices
 (at least two in number), where price pi is o¤ered to a fraction i > 0 of consumers and
                     P
 average price is p = i i pi . Clearly, at least one price is strictly above the mean and one
 price is strictly below the mean.
        Note …rst that it cannot be optimal for the …rm to set any price below cost. (If some
 prices were below c, then pro…t is strictly increased by adjusting such prices to equal c:
 this adjustment increases p and so boosts demand from all consumers with pi                   c, and it
 clearly increases pro…t from these hitherto loss-making consumers.) So suppose that all
 prices satisfy pi     c.
        Next, we claim that the …rm optimally o¤ers only one price which is strictly above the
 mean. (The following argument is essentially an instance of Jensen’s Inequality.) Suppose,
   14
     A more satisfying solution to this problem would be for consumers to construct the “average price”in
 terms of the average accepted price among the consumer population instead of the …rm’s average o¤ered
 price. However, this alternative approach is substantially more complex to solve.


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 to the contrary, there are at least two distinct prices, say p1 and p2 , where p1 > p2 > p.
 Suppose we reduce p1 by " > 0 and increase p2 by                              1
                                                                               2
                                                                                   ", where " is small enough that both
 prices remain above p and that (16) continues to hold. By construction, the average price p
 is not a¤ected by this change, and so the pro…ts obtained from all other prices pi 2
                                                                                    = fp1 ; p2 g
 are una¤ected. If we write (") for the …rm’s expected pro…ts as a function of ", then

           0      sign
               (0) = [F (p1 +       R (p1          p))      F (p2 +    R (p2        p))]
                          +(1 +         R ) [(p1         c)f (p1 +    R (p1        p))       (p2       c)f (p2 +        R (p2       p))] :

 This expression is strictly positive: the …rst term [:] is strictly positive since F (:) is strictly
 increasing over this range, and the second term [:] is strictly positive from the assumption
 that 1        F is weakly concave. We deduce that the original prices cannot be optimal, and
 so the …rm chooses exactly one price above the average price in its optimal policy.
        A similar argument shows that the …rm’s optimal policy also involves a single price
 which is weakly below the mean.


        At least with concave demand, we deduce that the …rm uses exactly two prices and so
 pursues a “high-low” price policy. It is then a simple matter to derive the …rm’s optimal
 price policy. If the …rm o¤ers the full price pH with probability                                     and the discounted price
 pL < pH with probability 1                    , its pro…t is

  (1       )(pL c)[1 F (pL               B     (pH         pL ))]+ (pH        c)[1 F (pH +             R (1      )(pH           pL ))] : (17)

 Consider the example where v is uniform on [0; 1], c = 0 and                                           R     = 0. Here, the most
                                                     1
 pro…table uniform price is p =                      2
                                                       .    One can check from (17) that the optimal pricing
 strategy is                    p                                                            p
                                    B    +1+3                     pH                               B   +1       1
                         pH =                            ; pL = p      ;                 =                          :                   (18)
                                    8          B                  B +1                                  B
                                                     1
 This policy satis…es pH > p =                       2
                                                           > pL , so that the high price is above, and the low
 price is below, the optimal uniform price p = 12 . This solution requires                                                  B   to lie in the
 range 0 <        B   < 3 to satisfy (16). The policy converges to the optimal uniform price as
  B     becomes small. When                B   = 1 the approximately optimal policy involves pL = 0:44
 and pH = 0:63, and the full price is o¤ered to 41% of consumers. Note that the average
 price here (p           0:52) is higher than it would be if the …rm charged a uniform price (for
 instance, because consumers did not exhibit reference dependence, so                                                   B   = 0).15 The
   15
     Spiegler (2011a, section 9.1.2) shows that in a model where loss-aversion is the dominant force average
 price falls relative to the standard case.


                                                                  20
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 …rm’s pro…t with this policy is about 0:26 and aggregate consumer surplus, taking their
 reference-dependent preferences at face value, is 0:15.
          There are at least two ways to relax the strong assumption that consumers observe the
 …rm’s full pricing policy, and instead observe only the price they themselves are o¤ered.
 First, savvy consumers could hold equilibrium beliefs about the average price; second,
 consumers might be more gullible and believe the …rm’s claims about its average price.16
          Consider …rst the situation where consumers hold equilibrium beliefs about the …rm’s
 entire pricing strategy, even though they observe only their own price. That is to say, from
 a consumer’s viewpoint, the …rm’s prices to other consumers are “secret”. If all consumers
 believe the average price is P , the …rm’s expected pro…t when it o¤ers price p to a given
 consumer is (p         c)(1   F (p       B (P     p))) if p     P and (p      c)(1    F (p +    R (p    P )))
 otherwise.17 Thus, when (15) holds the …rm faces a demand curve with an “inward”kink
 at the reference price P . In this case we have the following result.18

 Lemma 6 Suppose consumers observe only their own price, and that the demand curve
 1        F ( ) is logconcave.19 If (15) holds then (i) there is no equilibrium in which the …rm
 o¤ers a uniform price, and (ii) there exists an equilibrium in which the …rm o¤ers exactly
 two prices, pL and pH , where both of the these prices are below the most pro…table uniform
 price p .

 Proof. (i) If to the contrary P is an equilibrium uniform price, anticipated by consumers,
 the …rm cannot make greater pro…t by choosing p < P , so that

                               1      F (P )     (1 +   B ) (P   c) f (P )   0;

 and neither can the …rm make greater pro…t by choosing p > P , so that

                               1      F (P )     (1 +   R ) (P   c) f (P )   0:

 These two inequalities are inconsistent if (15) holds.
     16
       In this paper we assume that the …rm either makes all its prices public or none. An interesting variant
 is to suppose that the …rm can selectively reveal is price policy to consumers, in which case it might reveal
 the average price to those consumers who get a bargain, but keep those who pay a high price in the dark.
    17
       Here, we assume consumers have “passive beliefs”about the average price, and the price p a consumer
 is o¤ered does not alter her anticipated P .
    18
       In formal terms, this result resembles the analysis in Zhou (2011). Like us, he …nds that a seller faces
 demand with an inward kink and chooses prices according to a mixed strategy with exactly two prices; in
 his case, the prominent seller uses “sales” to in‡uence a loss-averse consumer’s reference point when she
 evaluates the rival o¤er, while our …rm uses “sales” to satisfy a consumer’s demand for bargains.
    19
       If 1 F is weakly concave it is also logconcave.



                                                        21
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    (ii) We construct the “high-low” equilibrium as follows. Let consumers anticipate the
 average price P . If the …rm chooses a price strictly above P , this price pH must (locally)
 maximize (p      c)(1   F (p +   R (p     P ))), and when demand is logconcave there is at most
 one such price, which is determined for given P by the …rst-order condition
                                            1 F (pH + R (pH P ))
                            pH = c +                                 :                           (19)
                                          (1 + R )f (pH + R (pH P ))

 Likewise, if the …rm chooses a bargain price below P , this price pL must maximize (p
 c)(1    F (p     B (P    p))), which is uniquely determined for given P by the …rst-order
 condition
                                            1 F (pL     (P pL ))
                             pL = c +                              :                             (20)
                                          (1 + B )f (pL   (P pL ))
 The …rm must be indi¤erent between choosing the two prices pL and pH , so that

          (pL     c)(1   F (pL     B (P     pL ))) = (pH      c)(1    F (pH +   R (pH   P )) :   (21)

 Finally, in equilibrium consumer expectations of the average price are ful…lled, so that

                                         P = pH + (1          ) pL                               (22)

 where     is the fraction of consumers who pay pH . The four tari¤ parameters pL , pH , P
 and     then solve the four equations (19)–(22).
    To see that a solution to these four equations exists, argue as follows. First note that if
 we can …nd pL , pH and P satisfying (19)–(21) such that pL < P < pH , then we can …nd an
 0<      < 1 which satis…es (22). Therefore, we look for pL , pH and P satisfying (19)–(21)
 such that pL < P < pH . Since 1         F ( ) is logconcave, we can check that pH in (19) is above
 P if and only if P is su¢ ciently small, and the threshold P which makes the …rm choose
 pH = P in (19) is
                                                1        1     F (PH )
                                  PH = c +                             :
                                              1+    R        f (PH )
 Likewise, from (20) we can see that pL is below P when P is su¢ ciently large, and the
 threshold P which makes the …rm choose pL = P in (20) is

                                                1        1     F (PL )
                                  PL = c +                             :
                                              1+    B        f (PL )

 Given the logconcavity of 1       F and assumption (15), it follows that PL < PH . Thus, for
 any P in the range PL < P < PH , the …rm’s high price in (19) is above P and the …rm’s
 discounted price in (20) is below P . Note that both PL and PH are below p , the optimal
 uniform price.

                                                    22
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    It remains to show that we can …nd P in the range PL < P < PH such that (21) holds.
 Consider the lower boundary P = PL . By construction, when P = PL then pL = PL in
 (20) in which case the …rm’s pro…t when it chooses p = pL is (PL                     c)(1       F (PL )). But
 when P = PL , the …rm’s pro…t when it chooses pH in (19) is strictly higher than this, since
 the …rm could have chosen pH = PL which yields the same pro…t (PL                              c)(1   F (PL )).
 Thus, when P = PL the …rm makes strictly greater pro…ts by choosing pH in 19) than it
 does by choosing pL in (20). A similar argument establishes that when P = PH , the …rm
 does strictly better by choosing the lower price pL in (20) than by choosing pH in (19).
 By continuity, there exists at least one P in the range PL < P < PH where the …rm is
 indi¤erent between choosing pL in (20) and pH in (19). This completes the proof.


    In the same example where v is uniform on [0; 1], c = 0 and                   R   = 0, the equilibrium
 pricing policy in the regime where consumers observe only their own price can be shown
 from expressions (19)–(22) to be
                                                                    p
                          1         pH                                  B     +1       1
                  pH = p = ; pL = p      ;                   =P =                           :              (23)
                          2         B +1                                      B

 Note that the high price in this example is equal to the optimal uniform price, and from
 (19) this is true whenever         R    = 0 so that consumers do not care when they pay an above-
 average price. When      = 1, the …rm’s pro…t as a function of its price p o¤ered to any
                            B
                                                                            p
 particular consumer, given that the consumer believes average price is P = 2 1, looks
 as shown on Figure 1. This …gure illustrates the bimodal nature of pro…t with bargain-
 loving consumers, and the equilibrium is constructed so that the height of the two peaks
 coincides.

                            0.26
                   profit
                            0.24


                            0.22


                            0.20

                                   0.2        0.3     0.4     0.5       0.6           0.7
                                                                                      p

                        Figure 1: Monopolist’s pro…t as function of p

 This price policy in (23) is qualitatively the same as in the case in (18) where a consumer
 can observe the …rm’s prices for all consumers; in particular the percentage discount pL =pH

                                                      23
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 is the same and the likelihood of getting a bargain is the same. However, prices are now
 shifted downwards. Of course, quite generally, the …rm’s pro…ts here are lower compared
 to when consumers see the full range of prices, since the …rm could choose the pricing
 policy seen with secret deals as its policy when its prices are public. In this linear demand
 example, aggregate consumer surplus is now higher, at about 0:2, and total welfare is higher
 when the …rm’s prices are privately observed. Intuitively, when the …rm makes secret deals
 with each consumer, the …rm has a greater incentive to undercut the average price since
 other consumers do not observe, and cannot react to, the price cut.20
        Suppose that the …rm is able to make false claims about its average price. If consumers
 are savvy, they foresee that the …rm has an incentive to exaggerate its average price to
 boost its demand from bargain-loving consumers, and so consumers discount its claims
 and behave as if they cannot observe the average price. In such a situation, a policy which
 enables the …rm credibly to reveal its average price will help the …rm and, at least in the
 linear demand example, harm consumers. If policy forces the …rm to publish accurate
 information about its prices and the proportion of prices which are discounted, then any
 price-cut targeted at particular individuals reduces demand from other consumers, and so
 blunts the …rm’s incentive to discount.21
        On the other hand, if consumers are more gullible and believe its claims, the …rm’s
 pro…ts are increased when it is able to make misleading claims. It can then obtain the
 bene…t of boosting demand from perceived “bargains”without the cost of sometimes having
 to set ine¢ ciently high prices. It would like to claim average price was as high as possible,
 so that it could then set high actual prices without cutting demand.22
        Summarizing our discussion of this model, we have:

 Proposition 3 (a) Suppose consumers have an intrinsic preference for bargains. Then the
 monopolist will o¤er distinct prices to identical consumers. If demand 1                   F (p) is weakly
 concave, the …rm will adopt a “high-low” pricing strategy and o¤er exactly two prices to
 the population of consumers. The …rm’s pro…t is higher when consumers can observe its
 average price compared to when they have no information about its average price.
   20
      The e¤ect is analogous to the “secret deals” problem in vertical contracting, discussed in Rey and
 Tirole (2007), in which an upstream manufacturer who sells to two competing retailers has an opportunistic
 incentive to boost supply to a retailer when the other does not observe the deal.
   21
      Again, this is similar to the impact of policy on the secret deals problem in vertical contacting, where
 a requirement to make the supplier’s deal to one retailer observed by another will boost supplier pro…ts
 and harm …nal consumers.
   22
      In this case, the welfare impact of a policy banning false discounts is more complicated, and depends
 on how one views a consumer’s utility from getting a “false bargain”.



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        (b) Suppose demand is linear. A policy which prevents the …rm from making false claims
 about its average price helps the …rm and harms consumers and welfare if consumers are
 savvy and foresee the …rm will exaggerate its average price. The same policy will harm the
 …rm if consumers are gullible and believe its claims about average price.


 5        Conclusion
 This paper has explored some economic e¤ects of discount pricing. We suggest two reasons
 why a discounted price— as opposed to a merely low price— may make a rational consumer
 more willing to buy. First, the information that the product was initially sold at a high price
 may indicate the product is high quality. Second, a discounted price can indicate that the
 product is an unusual bargain, and that there is little point searching for alternative, lower
 prices. We also discuss discount pricing with behavioural consumers. If consumers have an
 intrinsic preference for bargains, a seller has an incentive to o¤er di¤erent prices to identical
 consumers, so that a proportion of its consumers will enjoy a bargain. Information about
 discounts in this case assures consumers how good their deal is relative to the average,
 which boosts their willingness to purchase.
        Because of their incentive to mislead customers, in some— but not all— of the situations
 we discuss, there is a potential role for policy to prevent sellers advertising false discounts.
 In all models, if consumers are gullible and believe— rather than merely ignore— a …rm’s
 false claims, such a policy will help consumers and harm the …rm. In most cases, the overall
 impact on welfare of a policy which combats false discounting is positive.23 If consumers
 are savvier, matters are more nuanced. In our model where the initial price serves to signal
 the choice of high quality, a ban on misleading claims will actually bene…t the …rm, as it
 makes it easier to signal its quality. In the model with oligopoly search, such a policy
 bene…ts consumers as they then learn when an o¤ered price is a discounted price and can
 reduce their search e¤ort. Finally, in our model of bargain-lovers, when consumers are
 savvy a ban on misleading price claims will help the …rm but harm consumers. Policy
 which helps the …rm make public its pricing policy overcomes its “secret deals” problem,
 to the detriment of consumers.
        In any case, the potential bene…t from regulatory policy can be realized only if it is
 e¤ectively enforced. Indeed, weakly enforced policy may be worse than no policy: it may
 make consumers gullible and act on a …rm’s false discounts, and it may harm honest sellers
   23
     The exception is the model of oligopoly search in section 3, where permanent sale signs induce gullible
 consumers to buy more often from their local seller, which reduces search costs.


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 who follow the letter of policy. As discussed by Muris (1991) and Rubin (2008), it is hard
 to enforce, or perhaps even coherently to formulate, policy towards misleading pricing. A
 basic problem is how to determine how few sales need to occur at the full price, or for how
 short a time the full price is available, for a sales campaign stating “was $200, now $100”to
 be classi…ed as misleading. Sellers have a strong motive to make their customers feel they
 are getting a special deal, and they have myriad ways to achieve this. It is unrealistic and
 undesirable to suppose that regulation can address all forms of false discounting without
 unduly restricting a seller’s marketing abilities, and regulators should focus only on ‡agrant
 examples of deception.

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Comparative Price Advertising: Informative or Deceptive?
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 Comparative Price Advertising: Informative or Deceptive?

                                                   Dhruv Grewal and Larry D. Compeau

                                                  An issue currently generating considerable debate is the increasing use of the comparative
                                                  price format in advertising. In this paper, reviews of comparative price advertising literature
                                                  and Federal Trade Commission (FTC) guidelines are integrated to discuss whether compar-
                                                  ative price advertisements are informative or deceptive. Recent court cases relevant to com-
                                                  parative price advertising are also discussed. The central focus of the paper is to articulate
                                                  the state of knowledge regarding comparative price advertising and to assess its potential for
                                                  being informative or deceptive using an examination of relevant literature and public policy.
                                                  Recommendations regarding comparative price advertising for public policy makers, man-
                                                  agers, and researchers are developed.




           Considerable time and money is spent designing ad-                fee 1986; Kinnear and Root 1988; Laczniak and Grossbart
           vertisements that will appeal to consumers. One par-              1990; Richards 1990a].
           ticular format, the comparative price advertise-                     Recently, numerous legal actions have been taken
ment, appeals to consumers' desire for bargains or deals. In                 against major retailers regarding the use of comparative
comparative price advertisements, advertisers attempt to get                 price advertisements [Grewal and Grewal 1991]. The State
consumers to compare a "sale price" to a suggested refer-                    of Maryland charged that the May Department Stores em-
ence price. This may be an explicit reference price compari-                 ployed deceptive comparative price advertising. Specifi-
                                                                             cally, it was alleged that May's reference price, labeled as a
son (e.g., "original price/sale price" or "their price/our
                                                                             regular price, was deceptive since May had not regularly
price") or an implicit reference price comparison (e.g., the
                                                                             sold the product at that price [Grewal and Grewal 1991]. De-
use of "sale price" alone suggests that the regular price is
                                                                             ception can also occur through the omission of information.
higher).
                                                                             Blair and Landon [1981] found that omitting a reference
   Ostensibly, advertisers give consumers more price infor-
                                                                             price in conjunction with labeling a price as a "sale price"
mation in a comparative price advertisement than in a non-                   led consumers to infer a savings. Thus, if the savings in-
comparative price advertisement. Comparative price adver-                    ferred were greater than the actual difference between the
tising offers consumers a basis for comparing the relative                   nonsale price and the sale price, the advertisement was de-
value of the product offering by suggesting a monetary                       ceptive.
worth for the product and any potential savings. For exam-                      Comparative price advertising should be distinguished
ple, the comparative price advertisement, "regular price                     from comparative advertising. In comparative advertising,
$10.00, on sale $7.99," suggests a monetary worth of                         the advertiser typically compares his/her product to a com-
$10.00 and a savings of $2.01. To the extent that consum-                    petitor's product (named or implied) [Hisrich 1983; Mueh-
ers do not have this information about potential savings, the                ling and Kangun 1985; Turgeon and Barnaby 1988; Wilkie
comparative price advertisement is beneficial because more                   and Farris 1975; Wilson 1978]. This comparison may be an
informed consumers are likely to make better purchase de-                    attribute-specific comparison or a global comparison. There-
cisions.                                                                     fore, it is tempting to conclude that comparative price adver-
   However, comparative price advertising need not always                    tising is a specific case of the more general comparative ad-
be beneficial. The FTC has promulgated specific guidelines                   vertising. However, the advertiser in a comparative price ad-
to determine the conditions under which a comparative                        vertisement compares an actual selling price to some
price advertisement is deceptive. In general, a comparative                  "other" price. This "other" price may not be the price of
price advertisement can be construed as deceptive if it                      the competitor (e.g., "manufacturer suggested list price" or
makes any representation, commits any omission of informa-                   a "regular price"). Only in an instance where an advertiser
tion, or involves any practice that may materially mislead a                 compares a price offer to that of a competitor could a com-
reasonable consumer [Della Bitta et al. 1981; Ford and Cal-                  parative price advertisement be considered a comparative ad-
                                                                             vertisement. Since this paper focuses on comparative price
DHRUV GREWAL is with the Department of Marketing at the Univer-              advertising, the general topic of comparative advertising is
sity of Miami, Coral Gables, Florida. LARRY D. COMPEAU is with               considered to be outside its scope.
the Department of Marketing at Clarkson University, Potsdam,                     The contributions of two streams of research--compara-
New York. Both authors contributed equally to the paper. The help-            tive price advertising and information cues-facilitate under-
ful comments of KENT B. MONROE, JERRY B. GOTLIEB, DIANA S.                    standing the informative or deceptive nature of comparative
GREWAL, four anonymous reviewers, and the editor are greatly ap-
                                                                              price advertisements. An understanding of the effects of in-
preciated. DHRUV GREWAL was partly funded by a Summer Award
                                                                              formation cues on consumer decision processes is consid-
in Business and Social Sciences at the University of Miami.
                                                                              ered vitally important by the FTC [Ford and Calfee 1983].

                                                                                                                                        Vol. 1 1 (1)
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                                        a. the advertised
 In the comparative price advertising stream,             higher price must
                                                     consumer            re-be based on facts and not fic-
                                           titiousof
searchers have examined the effects of the use     and misleading;
                                                       explicit    andref-
 erence prices in terms of their ability to  deceive
                                          b. the advertised [Blair    and
                                                            higher price must not exceed the price at
                                       which substantial
 Landon 1981; Liefeld and Heslop 1985; Sewall      and   salesGold-
                                                               are made in                                            the area.
 stein 1979]. The stream of information cue    research
                                         Likewise,   anotherhas    ex-compares the advertiser's
                                                             practice
 amined consumers' use of price as an information         cue    [Rao
                                       price to some higher price being charged for similar, but
 and Monroe 1989]. However, this research     is fragmented,
                                       not identical merchandise. The guidelines for preventing de-
 so to derive substantive public policy   implications
                                       ception  for this practice from
                                                                   are:
 these studies, a comprehensive review follows.
                                         a. it must be made clear that the comparisons are being made
  The next section discusses the FTC's guidelines        for pric-
                                             to other merchandise;
 ing practices. Moreover, representative court cases con-
                                       b. the other merchandise is of like grade and quality; and
 cerned with alleged deceptive price advertising         are pre-
sented to illustrate relevant legal issues. Ac. the  advertised higher
                                                 conceptual         frame-price does not exceed the price at
work is then presented. The third section which  uses   thethis
                                                            merchandise is offered by representative retail out-
                                                                  concep-
                                                lets in the area.
tual framework to guide the review of the research and ties
the behavioral research to legal issues. In the fourth section,
recommendations for public policy makers,  Section 233.3:     Advertisedand
                                                       managers,             Retail Prices Suggested by
                                           Manufacturers
researchers are given. Finally, key aspects of this paper are
summarized.                                Many times advertisers compare their sale price to a higher
                                                                          manufacturer's suggested list price (MSLP). This strategy
 Legal Policies                                                           has the potential for deception unless:
                                         a. substantial sales are made in the area at the suggested retail
In order for consumer research to be relevant       for public pol-
                                            price; and
 icy, researchers must be better acquainted with the law
                                        b. the manufacturer
[Preston 1976; Richards 1990a]. This section      discusses or retailer
                                                                    the  acts honestly and in good faith
FTC's relevant guidelines and a few recent  in advertising
                                                court the    list price and not with the idea of creating
                                                           cases.
                                                                                a deceptive comparison.
FTC Guidelines
                                                                          Section 233.4: Bargain Offers Based Upon
To prevent deceptive practices, the FTC specifies guide-
                                                                          Purchase of Other Merchandise
lines for pricing practices. Part-233 (Section 233.1- 233.5)
of the Code of Federal Regulations contains guidelines Advertisers regularly create bargains by offering additional
                                                       merchandise with the initial purchase (e.g., "buy one-get
against deceptive pricing. Some key points of these guide-
lines are reviewed briefly:                            one free"). Although this section is somewhat tangential to
                                                                          the central focus of the paper, such offers are implicitly com-
                                                      paring the sale price to a reference price. For example, prior
Section 233.1: Former Price Comparisons
                                                      to the holiday season a number of airlines were advertising
A common practice is to offer a product at a reduced price
                                                      "buy one ticket and get another one free," suggesting a 50
relative to the advertiser's own former price (e.g., original
                                                      percent discount. Consumers are protected when advertisers
price/sale price). A bargain is genuine if:
                                                      adhere to the following guidelines:
   a. the former price is the "actual bona fide" previous price;
                                                             a. the selling price must not be inflated;
   b. for which the product "regularly sold;"
                                                             b. the quality of the product must not be reduced;
   c. for a "reasonably substantial" period of time; and
                                                             c. the quantity of the product must not be reduced;
   d. the offer is made in the regular course of business and    inadditional conditions should be attached (other than the
                                                             d. no
      good faith.
                                                                 basic condition that the article be purchased to get the addi-
   Furthermore, if the former price or reduction (amount or      tional merchandise); and
percentage) is not stated in the advertisement, as in one that              e. all terms and conditions of the offer must be made clear.
simply states "sale," the advertiser must make sure that the
reduction is not so insignificant as to be meaningless (e.g.,             Section 233.5: Miscellaneous Price Comparisons
original price $10, now being advertised as "on sale for
                                                                          There are a number of variations in comparative price adver-
$9.99"). It is this section that is the focus of most of the re-
                                                                          tisements which also have the potential for deception. Retail-
cent legal cases dealing with comparative price advertising               ers, for instance, should not represent a retail price as being
violations.
                                                                          a "wholesale" price when they are not selling at the price
                                                                          paid by purchasing directly from the manufacturer. Retail-
Section 233.2: Retail Price Comparisons;                                  ers should not sell imperfect merchandise as reduced (i.e.,
Comparable Value Comparisons                                              marking down "irregulars") without disclosing that it is im-
Another common practice is comparing the advertiser's sell-               perfect. Retailers should not offer advance sales under con-
ing price to a competitor's higher price; for example, "Prod-             ditions where they do not, in good faith, expect to increase
uct-x; their price $10, our price $7.50." This strategy is                the price at a later date. In all cases of bargain offers, the ad-
known as a retail price comparison. In order for the offer to             vertiser must ensure that the bargain being offered is genu-
be genuine, the following criteria must be met:                           ine and truthful. According to the FTC, these guidelines pro-


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vide the most effective ways for  olation of the consumer to
                                     advertisers           protection law. Thus,
                                                                operate       in by claiming
the best interests of the public. that it had "lowered every price on every item even fur-
                                                                      ther," Newmark & Lewis was misleading consumers by
                          using implicit price comparisons and giving the impression
Recent Comparative Price Cases
                                  that exceptional deals were available. Similar cases alleging
Recently there have been several court cases concerning the
                                  violations of the FTC's deceptive pricing guidelines (or in-
use of deceptive comparative pricing practices by major re-
                                  dividual state guidelines) are being looked at in other states
tailers, including State of New York vs. Sears, Roebuck &
                                  where the primary issue is whether the reference price util-
Co., State of Colorado vs. May Department Stores Inc.,
                                  ized in the comparative price advertisement is genuine or fic-
State of Maryland vs. The Hecht Co., State of New York vs.
                                  titious (for a review of the FTC, see Baer 1988; Jones 1988;
Stigley, and New York City's Department of Consumer Af-
                                  Strenio 1988).
fairs vs. Newmark and Lewis Inc. [Agins 1990; Grewal and
                                     In the next section, a conceptual model is presented
Grewal 1991; Monroe 1990]. These cases have brought at-
                                  which guides the subsequent review of the comparative
tention to the potential widespread misuse of comparative
                                  price advertising research. The model illustrates the effects
price advertising.
                                  of information cues on consumers' product evaluations so
  The State of New York vs. Sears, Roebuck & Company is
                                  as to better understand how price information in a compara-
a representative case that can be used to illustrate some of
                                  tive price advertisement is used by consumers. This re-
the issues involved in comparative price advertising. The
                                  search has taken on greater importance since the FTC has
New York State Attorney General alleges that Sears
                                  shifted its reliance from its own experts to consumer testi-
breached a 1986 agreement to discontinue the use of mis-
                                  mony and surveys [Brandt and Preston 1977; Richards
leading and deceptive sales practices, the most prominent
                             1990a].
of which were comparative price advertisements. It was
charged that Sears "urged consumers into believing they
were being offered bargains ... byConceptual
                                      promoting       Modelproducts with
inflated fictitious "regular" prices."
                                  Knowledge of the way that consumersthe
                                            Specifically,                           com-
                                                                            use price  as informa-
plaint charged that Sears used deceptive           pricinghow
                                  tion is basic to understanding      in    violation
                                                                        comparative   price adver-
of several laws and the FTC's Codetisingof
                                         can beFederal
                                                 informative or Regulations.
                                                                  deceptive. Therefore, a concep-
In accordance with these charges,           theis provided
                                  tual framework      attorney                general
                                                                that explains the  effects of com-
                                  parative price advertising
sought redress in the form of consumer               restitution,on consumers' among
                                                                                  product evalua-
other penalties, to compensate those
                                  tions and customers                  whoThis
                                             purchase and search behaviors.       pur-
                                                                                     model incor-
chased products when they otherwise             might
                                  porates the substantive        not
                                                            results       have
                                                                    of research        be- the
                                                                                that examines
cause they "believed them to be bargains."
                                  use of price as information, namely the price-perceived qual-
                                  ity stream ofconcerning
 States are becoming more aggressive             research.                  viola-
tions of consumer protection laws,             asresults
                                      Substantive    illustrated                by quality
                                                           from the price-perceived       the   re-
State of New York vs. Sibley, search
                                   Lindsaystream suggest&  thatCurr          Co.
                                                                 price has both         (Si-
                                                                                 an information
                                component and
bley's). The attorney general alleged         a sacrifice
                                           that           component [Chapman
                                                      Sibley's,         from 1987].
1987 to 1989, had advertised television
                                  Consumers use sets,         videocassette
                                                  price as a cue for two types of information.
                                  Price information identifies
recorders, stereos, dinnerware, furniture,             and the      monetary sacrifice the
                                                                 mattresses             on con-
                                  sumer has to make
sale at various percentages off "regular               to acquire the These
                                                    prices."          product (perceptions
                                                                                    dis- of
count percentages ranged as high the
                                  as amount     of money that must
                                        50 percent                off   be the
                                                                           given up) [Chapman
                                                                                   pur-
                                  1987]. Price general
ported "regular prices." The attorney          is also used as an alleged
                                                                  indicator of product
                                                                                  that quality
 the regular prices quoted were fictitious,              (empirically supported
                                                                              with by twono   recent meta-analyses:
                                                                                                   actual
 basis for use in comparison to "sale"                   Monroe prices,
                                                                  and Krishnan 1985;   Rao and Monroe
                                                                                 because               1989). There-
                                                                                                   a num-
 ber of the products had never sold                             at isthose
                                                         fore, price               prices
                                                                       materially utilized         and of
                                                                                           in the formation in percep-
some cases had never even been offered for sale at these tions of the product's value and influences the decision to
"purported regular prices." This action by Sibley's vio-              purchase the product or to continue to search for a lower
lated a 1984 Assurance of Discontinuance agreement which              price. Consumers' use of price in a comparative price adver-
had been accompanied by a $4,000 fine. Sibley's has en-               tisement may be informative or deceptive, depending on (1)
tered another Assurance of Discontinuance, but the fine has           the price used by the consumer to make quality judgments
been increased to $225,000. This legal action suggests a              (the reference price, the actual price, or both) and (2)
much less tolerant view of such practices. Similarly, in the          whether the prices are bona fide.
case of State of Maryland vs. The Hecht Co., Hecht signed                If the reference price is truthful and consumers make prod-
an Assurance of Discontinuance agreement that was accom-              uct quality inferences based only on the reference price,
panied by a $500,000 fine.                                            then no deception has occurred and the comparative price ad-
  In the case of City of New York vs. Newmark & Lewis,                vertisement has been informative. If the reference price is
Inc., the Commissioner of the Department of Consumer Af-              truthful, but the consumer bases product quality inferences
fairs for the City of New York alleged that Newmark &                 on the sale price, the consumer has not been deceived; how-
Lewis advertised that it had lowered its prices on every prod-        ever, the lower perception of product quality could be detri-
uct in the store, when in fact some prices had not been               mental to the advertiser because it may reduce brand equity
changed. In August 1989, Newmark & Lewis was served no-               [Sawyer and Dickson 1984]. If the reference price is exag-
tice that it failed to lower the prices on fifty products in vi-      gerated and the consumer infers product quality based on


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                                           These perceptions(i.e.,
this reference price, then there has been deception           of value influence purchase behavior
                                                                     the
                                         [Szybillo
consumer has been materially misled by the         and Jacoby 1974;
                                             exaggerated           ref-  Zeithaml 1988] and price
                                          search behavior
erence price). Finally, if the reference price              [Grewal and Monroe 1991]. Specifically,
                                                    is exaggerated
and even if the consumer infers product  the quality
                                              higher the overall
                                                           based  perception
                                                                        on of value the greater the will-
                                          ingness to buy andhas
the sale price, the legal definition of deception               the lower
                                                                      been the likelihood of additional
met. However, the FTC or state attorney  price  search.
                                              general's        office
may decide that the misrepresentation is This not model  then articulates
                                                     material          and  how consumers use price in-
                                         formation    and
not prosecute the advertiser [Richards 1990a]. Thus, it isconsequently    suggests how deception occurs
                                          in comparative  price
not always true that inflated reference prices will enhance      advertisements. A  comparative price ad-
                                         vertisement contains information about the product's refer-
consumer perceptions of value. Consumers may not believe
                                         ence price, selling price, and potential savings. If the adver-
the misrepresented reference price and therefore reject it
                                         tisement conveys an inflated reference price, it could en-
and base their perceptions of value on the selling price.
                                         hance a consumer's perception of quality and his/her inter-
Moreover, if the reference price is judged by the consumer
                                         nal reference price. Therefore, it would enhance the con-
to be patently false, a negative reaction to the brand may fur-
                                         sumer's perceptions of value and willingness to buy the
ther adversely reduce perceptions of value [Lichtenstein
                                        product. Search for a better price would be likely to be re-
and Bearden 1986; Lichtenstein et al. 1989].
                                         duced or terminated. The behavioral research and the concep-
  A conceptual framework is provided in Figure 1 that sim-
                                         tual model suggest that a comparative price advertisement
plifies existing models [Dodds, Monroe, and Grewal 1991;
                                         has the opportunity to inform or deceive through its ability
Grewal and Monroe 1991; Monroe and           Chapman 1987;
                                         to influence consumers' perceptions of quality and value, in-
Stigler 1961; Thaler 1985; Zeithaml 1988]       and guides
                                         ternal reference prices, and the
                                                                      hence, purchase and search be-
comparative price advertising literaturehavior.
                                           review. According
to the model, semantic cues, that is, phrases used in an ad-
 vertisement that describe a price or a price offer (e.g.,
 MSLP, sale price, compare at), provide theComparative
                                              consumer Price
                                                         withAdvertising
                                           Research
 information about a reference price, selling price, and poten-
tial savings. This information is used to       develop percep-
                                            A comprehensive review of the literature was undertaken to
tions of the product's quality relative to its  actual
                                            identify    cost toprice
                                                     comparative  theadvertising studies. This review
consumer. For example, the semantic cue         "regular
                                          consisted           price,
                                                     of the use   of periodical indices, computerized
sale price" suggests to the consumer that    a base
                                          data  product     with
                                                     searches,  the "invisible college" technique (i.e.,
quality comparable to the "regular price"    is being
                                          colleagues      offered
                                                      working   in this research area provided refer-
                                          ences, full bibliographies,
for sale at the lower "sale price" and is therefore      a better and copies of studies) [Cooper
deal.                                     1984], and the ancestry method (i.e., tracking material that
                                          has been prices
  According to the model, external reference       cited in research
                                                             sug- that was already collected in a re-
                                         cursive
gested by advertisers influence consumers'       manner). The search
                                               perceptions       of process identified forty-six stud-
                                         ies, of which  only
quality [Monroe and Chapman 1987]; moreover, external ref-   twenty-eight   are reviewed here, because
                                         they containedprices
erence prices can also cause internal reference           empiricalto
                                                                    results. The discussion of this re-
                                         search
shift toward the advertised reference price      will focus on the
                                              [Lichtenstein      andexplicit public policy implications
                                                                          drawn from the studies.
Bearden 1988, 1989; Urbany et al. 1988)]. An internal ref-
erence price is a price held in consumers' Although
                                            memory  the and
                                                        research
                                                              is area suffers from a general lack of
                                         robust conceptual
used for comparison with other prices [Grewal              definitions and certain methodological
                                                  and Monroe
1991; Kamen and Toman 1970]; it may be   flaws [Compeau and
                                            a specific       Grewal 1990], several substantive con-
                                                         value
                                      clusions having
or a range of values [Monroe 1971], including         public
                                                  price      policy implications can be drawn
                                                          last
paid, expected price, and estimated marketfrom     the literature
                                                price      [Klein (Tableand 1). Four key public policy impli-
                                          cations of these studies are discussed:
Oglethorpe 1987]. Moreover, the consumer's internal refer-
                                             * the effects price
ence price may shift toward the external reference           of the presence
                                                                       sup-of a reference price in an advertise-
                                               ment;
plied in the advertisement, regardless of its veracity [Ur-
bany et al. 1988]. That is, even exaggerated* the  effects of the magnitude of discount;
                                                reference           prices
that consumers do not believe may enhance effects
                                             * the value   of semantic
                                                               percep- cues/price promotional phrases; and
tions.                                                                      * the effects of manufacturer's suggested list price.
   Consumers' perceptions of value are positively influ-
enced by both their perceptions of quality and their internal             Presence of Reference Price in an Advertisement
reference price [Grewal and Monroe 1991; Thaler 1985].                    An examination of the substantive results of the research
Consumers' perceptions of value are influenced by the trade-              suggests that an advertisement containing a reference price
off between what they get relative to what they must give                 and a sale price is more effective in influencing consumer
up [Zeithaml 1988]. Simply put, consumers value products                  perceptions of price and value than an advertisement contain-
perceived as high quality that are available at low prices. Fur-          ing only a sale price. By creating an impression of savings,
thermore, the lower the selling price relative to the internal            the presence of a higher reference price enhances subjects'
reference price, the larger the perceived value. In other                 perceived value and willingness to buy the product [Barnes
words, consumers attach value to saving money.                            1975; Bearden et al. 1984; Della Bitta et al. 1981; Friedman


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Figure 1. The Conceptual Model



                                            Perceived                                Purchase/
                           +
                                     Quality Willingness
                                    Quality + + to Buy
 Semantic Cues
 in Comparative
 Price Advertising
   * Reference Perceived
    Price     Value
 * Selling
      Price + +
      * Potential
   Savings
                                             Internal                                  Search/
                                             Reference Search
                                             Price Intentions



Note:                This            model                       is        adapted                        from           M




et al.                1982;   Inman    et
                                Magnitude al. 199
                                                o
bany                  et  al. 1988;
                                The Varadaraja
                                     results   of
price                 is truthful,
                                size the  advert
                                      increases
formation                      consumer.        to            the
                  willingness                                          to
 If the  referencetion          price to           search is         no
encouraged    to Walton
                     purchase                           1980  as        a
In  this situation1987;        the        Della adverti             Bit
but  deceptive.   McDougall
                        Therefore,                                   19 a
price"  alone,    stein offering
               while                     et            al.           19
result  in a more  1989;       informed     Oglesby                      d
comparative resultsprice                      adverti
                                                  indicat
their          lead the consumerof
       perceptions              and reduce search
                                           the    as a result of these
                                                              prod
product   itselflarger and
                        discount sizes [Keiser
                                           on  and Krum the
                                                         1976; Urbany et al.
                                                                           ac
a fictitious    1988]. Consequently, there is an incentive
              reference                             price.  for advertisers to I
sults  of       use inflated reference prices and/or toand
           Lichtenstein                                   actually reduce theB
deep  discounts selling price. The
                            from   latter approach  maintains
                                                       an     an informative
                                                                     im
could  be  a    advertisement, while the former reducti
             potential                             renders the advertisement
value.  In      deceptive.
            addition,                       Moore                           an
fewer                       subjects                                     choose              an      un
count                   relative Effects
                                    to         a
                                         of Semantic                        moderate
                                                                           Cues or Price Promotional
    However,                                          a        Phrases
                                                               selling                                price              l
 may                  still                   convey               a
                                                 Price promotional phrasesmessage
                                                                           and semantic cues that provide
 to              consumers      [Blair
                         more information                and
                                          (e.g., an advertisement         L
                                                                  with "regula
the reference     price
             price/sale                   provide
                        price" provides more information than an adver
judgments  about              the
             tisement with "sale  price" only) produc
                                               enhance the believability
associated with          the
             and perceived                product
                            value of the price-promotional offer [Barn
 tion value).  However,
               1975].  Although the amount of savings in the simprice-promo
 price" also   tion is the same, the use of
             appears                         different conve
                                            to         semantic cues or pric
 may  enhance promotion
                 perceptionscues (e.g., a product advertised for "$.99,
                                                                     of 50%
 nity for      off regular price" versus
           deception                        product advertised for if
                                           exists                   "$.99, 1/
 ated  reference                 price
               off regular price")                          or
                                    affects consumers' perceptions  of thesin
 price"                         when formativeness
                                        the        of the advertisement
                                                           "sale        and their purchase
                                                                                  pric     behav
 than  the     ior [Diamond and Sanyal
           previous                      price, 1990; Oglesby 1984; mi   Varadaraja
 terially      1986].
          misleading                             the                   con
 in higher       Objective claims, such as "save 50%," are perceived
            perceptions                                       of      to  qu
 duction  in   provide greater information
             search                      andthan subjective claims
                                                                an like     in
chase.                                                         "save up to 50%" [Mobley et al. 1988]. Objective claims


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 Table 1. Review of Comparative Price Advertising Research Results
 Study Research Results
 Fry and McDougall (1974) * Low acceptance of advertised reference pr
                                     * Magnitude of discount lowers consumers' search for the
 Barnes (1975) * Increase in price promotional information (i.e., h
                                      of the price-offer.
                                     * Increase in price promotional information enhances perce
 Keiser and Krum (1976) * Advertisement with reference price/sales pri
                                      price reduction than offer with just a SP.
                                     * Fictitious reference price misleads consumers.
                                     * Consumers do not question the truthfulness of the advert
 Sewall and Goldstein (1979) * Few consumers misunderstand the meani
                                     * Consumers oppose the prohibition of catalog RPs.
 Berkowitz and Walton (1980) * Discount size influences consumers' pric
                                     * Semantic cues influence consumers' price perceptions.
                                     * Contextual cues may warrant attention in terms of their
 Blair and Landon (1981) * False RPs have the capacity of deceiving, bu
                                     * Reference prices inflate consumer perceptions of savings
                                      difference between the RP and the SP.
 Della Bitta et al. (1981) * Magnitude of discount enhances consumer p
                                     * Magnitude of discount lowers consumer search intentions
                                     * Magnitude of discount enhances interest in product/brand
                                     * Semantic cues affect consumer perceptions (cues with exp
 Ahmed and Gulas (1982) * Large number of the respondents associated
                                      charged by majority of the stores in the area.
                                     * Comparison of list price to store's SP can be misleading
 Friedman et al. (1982) * Magnitude of discount enhances consumers' w
                                     * Advertisements with RP/SP are more effective in increa
                                      advertisement with a SP only.
 Raju and Hastak (1983) * Magnitude of deal enhances consumers' p
 Oglesby (1984) * Magnitude of discount enhances consumers' pr
                                     * Semantic cues affect consumers' perceptions of price inf
 Bearden et al. (1984) * Advertisement with RP/SP was viewed more favo
 Liefeld and Heslop (1985) * MSLP is not misleading.
                                     * Presence of 'sale' increases consumer suspiciousness.
 Varadarajan (1986) * Semantic cues affect purchase behavior.
                                     * Presence of RP/SP in advertisement enhanced purchase r
 Chapman (1987) * Magnitude of discount enhances consumer per
Lichtenstein and Bearden (1988) * External RP affects consumers' internal
 Mobley et al. (1988) * Magnitude of discount enhances consumer
                                     * Claim type affects consumer perceptions of information
                                      have greater information value than tensile/subjective cla
                                     * The level of consumer discounting of the advertisement
Burton and Lichtenstein (1988) * Magnitude of discount affects consumer
 Urbany et al. (1988) * Advertisement with a plausible RP, as compare
                                      subject's internal RP and the perceived value of the produ
                                     * Advertisement with an implausible RP had same effect, e
                                      search for a lower price.
                                     * These perceptions may affect search and choice.
Lichtenstein and Bearden (1989) * Magnitude of discount enhances perceived va
                   * The effect of magnitude of discount on consumers' perce
                    is from an implausible RP.
Lichtenstein et al. (1989) * Magnitude of discount enhances perceived
Moore and Olshavsky (1989) * Deep discount amount does not increase p
                                     * Magnitude of discount enhances choice (except for deep
 Diamond & Sanyal (1990) * Semantic cues/price promotional framing
Gotlieb (1990) * Greater savings enhance consumer involvement.
Gotlieb & Fitzgerald (1990) * The greater the MSLP, the more the consumer is willing to pay.
Gotlieb and Swan (1990) * Greater savings enhance consumer involvement and motivation to process information.
Inman et al. (1990) * For low need for cognition consumers: A promotional signal (not accompanied by a price cut) affects
                                     choice.
                                    * For high need for cognition consumers: Promotional signals are effective only when accompanied by
                                     a price cut.
Gotlieb & Sarel (1991) * When the credibility of the source is high, the established brand's price, a RP, affects the quality
                                     perceptions of the new product.




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are precise statements, whereas subjective           claims
                                  ers' internal reference              are the
                                                            prices. Whether     vague.
                                                                                   use of "manufac-
For example, "save 50%" is an objective
                                  turer's suggested list claim             because
                                                           price" is deceptive  or informative de-
the consumers know they will save pends50 on the  meaning assigned
                                                percent             off   to itabysup-
                                                                                    consumers and
plied reference price. On the other
                                  whetherhand,
                                            the product"save         upat to
                                                         is actually sold          50%"
                                                                             that price. If the prod-
                                  uct has are
is a subjective claim, and consumers       rarely been
                                                  unsuresold at the about
                                                                      MSLP, then it   conveys little
                                                                                    sav-
                              information
 ings. Thus, consumers are more  skepticaland will most
                                                    oflikely be deceptive (in accor-
                                                        subjective
                                 dance with
claims and discount them to a greater         Sec. 233.3). than
                                            extent         The MSLP objective
                                                                     becomes merely a wish
claims [Ford et al. 1990; Mobley price, an et
                                           amountal.    1988].
                                                  at which              Conse-
                                                            the manufacturer wishes the prod-
                                 uct would or could
quently, the way in which advertisers              wordbe sold. their price
claims influences consumers' perceptions and behavioral re-
sponses.                                                                   Recommendations
   Different semantic labels for the reference price and the
                                                               Based on the review of the comparative price advertising
actual selling price may inform or deceive the consumer, de-
                                                               studies, recent court cases, and the FTC's guidelines for pric-
pending on whether there is a shared interpretation of the la-
                                                               ing, recommendations for public policy makers, managers,
bels for both the sellers and the consumers. If consumers
                                                               and researchers are developed.
and sellers interpret the semantic cues in the same way,
then the potential for deception is small. However, if con-
                                                               Public Policy Makers
sumers and sellers interpret the semantic cues differently,
                                                               The most obvious deceptive comparative price advertise-
then the potential for deception is great. For example, this
                                                               ment uses a false, or inflated, reference price to suggest a
can occur when a seller uses a vague word such as "spe-
                                                               deal or bargain to the consumer. Clearly, from a public pol-
cial" to label an actual selling price. Consumers may inter-
                                                               icy perspective, a reference price should be truthful. Public
pret "special" as meaning the actual selling price is espe-
                                                               policy should encourage the use of reference prices that are
cially low for some reason and will stay at this price until
                                                               easily verified (e.g., a competitor's price) [Committee on
all inventory has been sold. On the other hand, consumers
                                                               Consumer Policy 1979]. This would not only assist in the in-
may interpret "special" as implying a limited time offer.
                                                               vestigation of the veracity of the claim by authorities but
Thus, this impreciseness in interpreting the semantic cue al-
                                                               might eliminate the need for such investigation, since con-
lows a greater opportunity for deception. Richards [1990a,
                                                               sumers could easily verify price claims themselves.
p. 30] has pointed out that, "courts have determined that if
                                                                  Public policy makers should discourage the use of refer-
a statement in an ad lends itself to more than one interpreta-
                                                               ence prices that are based on the seller's subjective assess-
tion by the ordinary recipient of the ad, and one of those in-
                                                               ment of the value of the product (FTC Section 233.3: Com-
terpretations is deceptive, the representation will be con-
                                                               parable Value Comparison). Although these reference
strued to be deceptive, in toto." In addition, puffery, which
                                                               prices may be truthful in the eyes of the advertiser, the high
is defined as claims that involve exaggeration, superlative,
                                                               degree of variation in estimating a subjective assessment of
and hyperbole, has often been used by advertisers as a de-
                                                               worth or value leaves most estimates suspect (e.g., "valued
fense against allegations of deception [Honigwachs 1987],
                                                               at," or "a total value of ...," or "worth...,"). Because of dif-
although if the claim materially misleads the consumer, it is
                                                               fering perspectives, the value of a product is likely to vary
deceptive and puffery is not a valid defense [Richards across individuals [Zeithaml 1988]. These subjective refer-
 1990b].
                                                               ence prices are difficult to verify.
   The informative and deceptive potential of semantic cues       A less obvious deceptive comparative price advertising
is directly dependent on the interpretation of consumers and
                                                               practice uses vague or misleading semantic phrases. For ex-
sellers. The more vague the semantic cue, the greater the
                                                               ample, instead of simply labeling a bargain, "special,"
likelihood of differing interpretations and the chance that
                                                               which is a vague description, the seller should also provide
the meaning will not be shared. Consequently, there is a
                                                               specific information on why the bargain is special (e.g., to
greater potential for deception. This utilization of vague se- close out inventory), the length of time the special will run,
mantic cues is contrary to the FTC's objective of enhancing
                                                               and the precise savings to the consumer. The purpose of se-
factual comparisons.                                           mantic cues is to communicate information about prices to
                                                                           the consumer. Public policy makers should discourage the
Effect of Manufacturer's Suggested List Price                              use of vague semantic cues and encourage the provision of
(MSLP)                                                                     additional information about the offer (e.g., the nature of
The results concerning the effect of MSLP on consumers'                    the bargain, relevant time, and precise savings) so consum-
perceptions are mixed. Liefeld and Heslop's [1985] find-                   ers can make more accurate assessments of the bargain.
ings indicate that the use of a MSLP is not misleading.                       Communication involves the sharing of meaning be-
Ahmed and Gulas [1982] found that a majority of the respon-                tween the sender (the advertiser) and the receiver (the con-
dents associate the MSLP with the price charged by the ma-                 sumer). To the extent that the meaning of the semantic cue
jority of the stores; therefore, the MSLP may confuse con-                 is not shared, the accuracy of the comparative price claim is
sumers and lead them away from further price comparisons                   reduced (i.e., the claim is vague). More specific information
if it is not a price charged by the majority of stores. This lat-          reduces the ambiguity of the semantic cue. One way for pub-
ter finding is reinforced by Gotlieb and Fitzgerald [1990]--               lic policy makers to develop shared meaning is to legally de-
 the higher the MSLP, the higher the price consumers are                   fine the common semantic cues used in comparative price
 willing to pay-suggesting that MSLP can affect consum-                    advertisements and then educate the public as to these defi-


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nitions and enforce their appropriate use.                         price that the
                                                                      This     is consumer
                                                                                   similar  mayto use in forming perceptions of
other labeling practices such as the terms                         acquisition
                                                                       used to  valuelabel
                                                                                      and transaction
                                                                                             dif- value [Lichtenstein and
 ferent levels of cut and fat in ground meat                       Bearden (e.g.,
                                                                            1989; Urbany  et al. 1988]. However, if the refer-
                                                                                      ground
round, ground chuck, ground beef).                                 ence price supplied is genuine and the consumer uses the
  The informative content of these semantic cues must be           sale price to form perceptions of acquisition value or dis-
weighed against their potential for deception. Policy mak- counts or ignores the reference price to form perceptions of
ers, such as states' attorneys and legal experts, as well as sell- transaction value, the managers have not satisfied the objec-
ers need an awareness of available consumer research and           tives of the advertisement. Moreover, price claims should
the research methods used for evaluating whether a retail          be objective rather than subjective, since objective claims
price promotion is deceptive [Armstrong et al. 1979; Gard-         are more precise and enhance the opportunity for shared
ner 1975; Russo et al. 1981; Richards 1990a]. Public policy        meanings and, consequently, reduce the potential for decep-
makers must incorporate consumer research findings into tion [Ford et al. 1990; Mobley et al. 1988].
the assessment of whether or not a comparative price claim
is deceptive.                                                            Researchers
   The research to date suggests that public policy makers               The current research does not address all important publi
should discourage the use of a MSLP [Ahmed and Gulas                     policy issues. The review (Table 2) indicates that existing re
1982; Gotlieb and Fitzgerald 1990]. Although the label                   search has not addressed the effects of retail price compari
may be legitimate in some instances, logically it appears                sons and comparable value comparisons (Section 233.2
that if the MSLP were indeed valid the product would                     [cf., Gotlieb and Sarel 1991]. Clearly, research is needed to
rarely be sold at a lower price. In other words, if a majority           address how price comparisons affect consumers' percep-
of the stores in a given geographical area were able to sell             tions of value as well as search and purchase behavior. Sim-
the product at MSLP, stores would only occasionally offer                ilarly, bargain offers based on the purchase of other merchan
the product for sale at a lower price since, ostensibly, de-             dise (Section 233.4), e.g., "buy one get one free" offers
mand would be stable at the higher MSLP. Consequently, if                need to be researched. By contrast, a sufficient volume of re-
the product is sold at the MSLP, there is no advantage in                search has been conducted on former price comparison
using this semantic cue. If the product is sold a lower price            (Section 233.1), and a meta-analysis at this stage may be in-
on more than a few occasions, the MSLP is no longer valid.               formative. In addition, it is critical that researchers incorpo
Therein lies the paradox of MSLP. The purpose of labeling                rate the legal definitions as a guide to the operationalizatio
a price as a MSLP is to convey a product value greater than              of constructs and discuss the public policy implications of
the actual selling price; yet, if done so on more than a few             their findings.
occasions, the MSLP is no longer a valid estimate of the                   Research also needs to examine the long-term impact of
product's value.
                                                                         comparative price advertisements on consumers' percep
   The only instance the MSLP constitutes a valid claim is               tions and behavioral responses. Time-series data from
when an occasional price reduction occurs. This paradox                  household panel would be helpful in addressing this area.
suggests that the overall value to the consumer in sellers               This research could then approach issues such as whether
using MSLP is marginal at best. The paradox also suggests                consumers discount reference prices more for retailers tha
that it may be more accurate and less misleading if sellers              use them more often and whether a relationship exists be
simply use "regular price" instead of MSLP. Thus, it may                 tween exposure to comparative price claims and the level of
be appropriate for public policy makers to discourage the                discounting that most consumers employ. Moreover, can
use of MSLP.
                                                                         comparative price claims be so pervasive that consumer
  Finally, the use of comparative price advertisementseventually
                                                          that        disregard the reference prices? This latter ques-
compare a selling price to competitors' prices (e.g., their
                                                        tion is especially relevant because of the recent popularity
price/our price), or prices from suppliers (our cost/your
                                                        of television shopping channels, where virtually every prod
price) should require identification of the competitor or
                                                        uctsup-
                                                             is offered for sale with at least one, and often several, ref
plier [Committee on Consumer Policy 1979]. In ordererencefor prices.
comparative price claims to be most effective, the claim   The meaning that consumers assign to different semantic
should be easily verifiable by the consumer. The claimcues
                                                         that needs to be further researched. How do consumers in-
a price is one charged by a competitor and then not identi-
                                                        terpret the phrases "compare at," "special," or "their
fying that competitor places an undue burden on theprice/our
                                                          con-      price?" Until consumers' interpretations of these
sumer to verify the truthfulness of the claim.
                                                        phrases are assessed, the potential for deception is open to
                                                                         debate. The current research suggests that consumers dis-
Managers                                                                 count most reference price claims, regardless of their verac-
Managers should be familiar with FTC regulations, since                  ity [Blair and Landon 1981; Della Bitta et al. 1981; Urbany
they provide guidance for the use of comparative price ad-               et al. 1988]. However, a question remains as to whether dif-
vertisements. From an ethical viewpoint, managers should                 ferent semantic cues result in different levels of discount-
use truthful reference prices in comparative price advertise-            ing. For example, do consumers discount "their price"
ments. This practice reduces the risk of deception and may               claims more, less, or about the same as "compare at"
be more effective in influencing consumer choice [Moore                  claims?
and Olshavsky 1989]. Comparative price advertisements                       The effects of advertiser credibility on consumers' percep-
can be used by retailers to suggest an external reference                tions of price-promotion information have only recently


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Table 2. Review of Federal Trade Commission Guidelines Studied

Study Former Price Retail Price Manufacturers Bargain Other Price
                                Comparisons Comparisons Suggested Price Comparisons
                                                                        List Price Offers
                                Sec. 233.1 Sec. 233.2 Sec. 233.3 Sec. 233.4 Sec. 233.5


Fry & McDougall (1974) X
 Barnes (1975) X
Keiser & Krum (1976) X
 Sewall & Goldstein (1978) X
Berkowitz & Walton (1980) X
 Blair & Landon (1981) X X
Della Bitta et al. (1981) X
 Ahmed & Gulas (1982) X
Raju and Hastak (1983) X
Friedman et al. (1982) X
 Oglesby (1984) X
Bearden et al. (1984) X
 Liefeld & Heslop (1985) X X
  Varadarajan                   (1986) X                                                       X
 Chapman (1987) X
Burton & Lichtenstein (1988) X
Lichtenstein & Bearden (1988) X
Mobley et al. (1988) X
Urbany et al. (1988) X
Lichtenstein & Bearden (1989) X
Lichtenstein et al. (1989) X
Moore & Olshavsky (1989) X
Diamond & Sanyal (1990)
 Gotlieb (1990) X
 Gotlieb & Fitzgerald (1990) X
Gotlieb & Swan (1990) X
Inman et al. (1990) X
 Gotleib & Sarel (1991) X
Note: X indicates that study examined issues involving a particular Federal Tr




 begun to be investigated bility
                           [Gotlieb    1990; Gotlieb
                                   of claims           and
                                              in certain fo
                           sues.
 1991; Gotlieb and Swan 1990]. It Future
                                  is likelyresearch
                                            that theneeds
                                                      pote
 for deception grows with increasing source credibility
                             Conclusion
 is, consumers may be more likely to believe a false re
                             This paper addressed a critical
 ence price when it is communicated                    by public
                                                              a highlypolicy question  regard-
                                                                                    cred
                             ing the potential
 seller. Moreover, is it possible       that    for a
                                                    comparative
                                                        retailer  price advertising
                                                                            or manu  to be in-
 turer with low credibilityformative
                                can or      deceptive. The a
                                         employ             public  policy implications of
                                                                 spokesperson
                             twenty-eight   studies
 high credibility, thereby communicating a credible  examining   comparative  price advertis-
                                                                                          com
                             ing were  reviewed   and
 ative price advertisement? Research needs to further  recommendations     were  presented. e
                               In summary,
 ine the roles of advertiser and        source policy makers   need to be certain that the
                                                        credibility.
                             meanings assumed
  Little is known about the effect                and articulated in policy
                                           of different                 media and law onare as c
                             congruous as possible with the ordinary consumer's interpre-
 sumer perceptions of comparative price claims. The pop
                             tations. More specifically, the use of MSLP in general is of
 ity of television shopping channels raises the iss
                             questionable value and deserves further scrutiny. Research-
 whether the medium plays a role in the effects of com
                             ers need to investigate the meanings that consumers assign
 tive price claims. Whether         comparative
                             to various semantic cues, the long termpriceeffects ofclaim
                                                                                     exposure
 more believable in newsprint,
                             to comparative price advertisements, the impact of contex-o
                                        catalogues,                magazines,
 television is yet undetermined.
                             tual cues suchIf     there
                                             as media           are
                                                       and format,   the certain            m
                                                                         influence of differ-
 where comparative price advertisements
                             ent semantic cues on levels ofappear             more
                                                               discounting, and             b
                                                                                  the effects
 able to consumers than others,
                             of source the       potential
                                        credibility.  For retailers andfor      decept
                                                                         advertisers,  the re-
 enhanced. Likewise, whether         comparative
                             search suggests                       price
                                               that vague information            claims
                                                                         presented  in a com-
 more believable when presented              in certain
                          parative price advertisement  may not help format
                                                                     communicate the
 whether certain media enhance        or detract
                          intended message,                  from
                                             because such information    the
                                                                      tends to be be
                                                                                  dis-



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                                        Dodds, William B., Kent
counted by consumers. As the use of comparative              priceB. Monroe,
                                                                       ad- and Dhruv Grewal (1991),
                                          "The Effects
vertising increases, the need to address the    issues of Price, Brand, and Store Information on Buyers'
                                                           developed
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       EXHIBIT 111
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                  Fake Discounts Drive Real Revenues in Retail

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                                         Harvard Business School

                                              October 14, 2017


                                                    Abstract

          Prices in a wide variety of contexts are often presented in three parts: an original or suggested
      list price, a discount off that price, and the final selling price. Limited empirical evidence is
      available that speaks to the relative impact of each component on purchase behavior, even
      as theories abound. Measuring these impacts is of critical importance to sellers, consumers,
      and to regulators who are keen on enforcing deceptive advertising guidelines against “fictitious
      pricing,” or the practice of quoting list prices that do not truthfully reflect prior selling prices.
      This paper uses a large retail transactions data set that features wide variations in these pricing
      components within a relatively homogeneous product space. The data set has the unique feature
      of containing sales records wherein a subset of products have verifiably fictitious list prices
      and discounts, allowing for measurement of their impact on purchase incidence in actual retail
      settings. I outline the broad theories that address fictitious pricing, list their corresponding
      predictions, and examine their relevance empirically. I find that fake list prices have a strong
      influence on purchase outcomes, with a 1-dollar increase in the list price having the same positive
      effect on purchase likelihood as a 77-cent decrease in the actual selling price. This effect is largely
      invariant to consumers’ experience with the brand, as inferred from their prior purchases. In
      addition, I find evidence for the dependence of this effect on store-level reference points such as
      the lowest offered discount within the store. These results have important implications for how
      managers should set each pricing component to maximize profits, as well as for how regulators
      should assess the welfare effects of allowing firms to post fake list prices.
  ∗
    E-mail: dngwe@hbs.edu. This paper is based on a chapter of my dissertation. I am grateful to my dissertation
committee members Chris Conlon, Brett Gordon, Kate Ho, Michael Riordan, and Scott Shriver for their guidance
and advice.




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1    Introduction

Virtually all firms engage in some form of discount pricing. There are several reasons for which

firms might drop the price of a good over time: when it seeks to discriminate between consumers

according to their willingness to pay, as a means of managing its inventory, or when it faces less

demand uncertainty after the good’s introductory phase. In many of these instances, consumers can

be thought of as having nearly full information and making rational responses to price incentives.

In contrast, this paper focuses on motivations for discount pricing that arise from consumers having

imperfect information or possibly exhibiting irrational behavior. These are motivations that might

encourage firms to post high “original” prices at which products were never actually available for

purchase.

This practice, termed “fictitious pricing” by the Federal Trade Commission (FTC), occasionally

results in litigation. In one recent case, a class-action lawsuit was filed against Kohl’s Department

Stores in California for allegedly misstating in advertising that items had been marked down (Dolan

2013). In reversing an earlier district court dismissal of the case, the US 9th Circuit Court of

Appeals stated that California consumer laws permit such lawsuits if the consumer would not have

made the purchase but for the perceived bargain. In December 2016, JCPenney, Sears, Macy’s,

and Kohl’s were all hit with lawsuits over similar allegations. JCPenney and Kohl’s had previously

been sued over the same practice and settled respectively for $50 million and $6.5 million (Popken

2016).

Fictitious pricing is one area in which enforcement differences between states and the FTC loom

large. Between 1950 and 1970, 30% of FTC challenges to advertising were related to “fictitious

price claims” (Pitofsky et al. 2003). Since 1979, however, the FTC has not brought a single

fictitious pricing case to court. Several FTC chairs have indicated that enforcement actions in

this area have done more harm than good. This is because of the difficulty and arbitrariness with

which a “genuine” discount might be differentiated from a deceptive one. In the current state of

enforcement, state attorneys-general apply local statutes in bringing cases; however, enforcement

is highly uneven, with major cases attracting widespread attention every few years but with many

firms consistently ignoring fictitious pricing statutes with impunity.



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The main obstacle in litigating individual cases, and therefore in policing this practice more broadly

in the marketplace, stems from the difficulty in assessing private damages from fictitious pricing

(Friedman 2015). Various recent cases in Illinois against large retailers such as Joseph A Bank1 ,

Carter’s2 , and QVC3 were found in favor of the sellers due to the plaintiffs’ failure in establishing

economic harm due to false price claims. The question of whether consumers are deceived by fake

price claims is also a factor, with one court decision seeing no fault because consumers “see through

the ruse.”4

In this paper, I identify patterns in how consumers respond to false and genuine discount claims

by the same seller. I use data from a dominant fashion goods retailer that makes heavy use of

discounting in its outlet stores. This data set offers a rare and unique opportunity to study this

pricing strategy because it records both list and selling prices, as well as repeat purchases. A

portion of these list prices are observably genuine, while the remainder are fictitious. As with many

brands and retailers, the firm implements random discounts across both time and products in-store,

providing much variation in final selling prices for each product.

While a number of earlier studies have examined the question of fake prices in laboratory experi-

ments or survey methodologies, there have been, to my knowledge, no prior studies that establish

the effect of fake list prices on purchase behavior in actual retail settings. There are several ben-

efits from using transactions data to address this question. Whereas survey methodologies must

rely on a constructed notion of what constitutes the actual “market price” for a particular good,

in my empirical setting such a quantity is directly observed from the data. Using sales data also

sidesteps the issue of ensuring incentive compatibility in measuring changes to consumers’ intent

to purchase. Perhaps the most important advantage of using sales data is the ability to measure

the effects across hundreds of different products, rather than relying on a few focal products in the

typical survey questionnaire.

I use a parsimonious discrete choice model of demand to estimate the effect of list prices on purchase

likelihood. Identification of this effect arises from variation in list prices within the same product
  1
    No. 12-C-7782 (N.D. Ill. July 25, 2013).
  2
    598 F.3d 362 (7th Cir. 2010).
  3
    888 N.E.2d 1190 (Ill. App. Ct. 2008).
  4
    B. Sanfield, Inc., 258 F.3d at 579.




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across different styles. The large number of observations, combined with the firm’s national pricing

policy, permits the estimation of style and color fixed effects, without the need to use instrumen-

tal variables to control for endogeneity. I explore how responses to list prices vary according to

consumer subgroups and depend on contextual reference points.

I find that consumer responses to list prices are consistent with theories that treat prices as a

signal of product quality and that hypothesize reference-dependent behavior in how consumers

evaluate prices. Controlling for selling prices and other product characteristics, a higher list price

substantially increases a good’s purchase probability. Moreover, this effect is larger for products

with fake list prices than for those for which list prices are genuine. Finally, this effect seems to be

invariant to the consumer’s level of information.

One might expect fake list prices to have a diminishing marginal effect on purchase likelihood,

such that at some point increasing the list price further would cease to be effective. Somewhat

puzzlingly, I find no support for this relationship in the data, and in fact find some support for an

exponentially increasing relationship. I find that reference dependence offers an explanation of this

phenomenon. Consumers take the minimum offered discount in a store as the reference point, to

the extent that purchase likelihood is invariant to the minimum discount and highly dependent on

the distance between product-specific discounts and the benchmark.

This reference dependence is in line with the idea that firms exploit bargain-hunting behavior

through false prices (Armstrong & Chen 2013). This effect may be particularly potent in outlet

stores, in which most items are discounted. Yet the attractiveness of a bargain must go hand-in-

hand with list prices being a reliable signal of quality. This implies that the firm must maintain

the credibility of these prices even as it employs them to manipulate consumer behavior.

Taken together, these results confirm that fake list prices and discounts play a large role in consumer

shopping decisions, but point to the need to for new thinking about this role in ways that have

not been emphasized by regulators, courts, or prior literature. It is possible, for example, that fake

list prices play an important role in relaying information about product quality in an environment

where many consumers face high uncertainty. This may be particularly true in fashion, where a

product’s marginal cost may be very weakly correlated with its quality.



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Setting fake list prices is a unique problem for the firm, as list prices can be thought of as a signal

of quality akin to certain forms of advertising. Yet unlike advertising, setting higher fake list prices

is costless to the firm. Setting optimal list prices, therefore, involves balancing their (initially)

demand-enhancing effects versus the possibility that consumers may eventually lend less credibility

to these signals.

The paper proceeds as follows. Section 2 reviews the related literature on discount pricing and

reference dependence. Section 3 describes the data used for the empirical analysis and provides

some descriptive statistics. Section 4 outlines a demand model and presents parameter estimates.

Section 5 concludes and points to directions for future work.



2    Related literature

Forms of fictitious pricing have been studied in a wide variety of circumstances. The environment

I consider has the following features: a single seller that produces goods of varying quality within

one category, a weak regulatory environment, consumers that have less information than the firm

about product quality and past prices, and the possibility of repeat purchases. Additionally, the

marginal cost of production may not be monotonically increasing with quality. This occurs, for

instance, in the manufacture of fashion goods for which the attractiveness of the final product may

have little relationship with the processes involved in its production.

Several authors in the economics literature have recognized the importance of price as a signal

of quality for uninformed consumers. Bagwell and Riordan (1991) argue that high and declining

prices can indicate that a product is of high quality. In their framework, high prices are a credible

signal of quality because high quality, high-cost firms are more willing to restrict sales volume than

low-cost firms. Over time, as the proportion of uninformed consumers decreases, it becomes easier

for the high-cost firm to signal its quality and thus its price lowers toward the full-information

monopoly price.

Armstrong and Chen (2013) examine a similar environment, but one in which quality is endoge-

nously determined and consumers can potentially be misled by false price announcements. They



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find that when consumers are ignorant of the initial price, the firm finds it profitable to produce a

high quality good and announce the initial price when it is constrained to tell the truth. However,

it does even better by producing a low quality good, and subsequently misleading consumers by

announcing a high initial price. This is related to a key empirical question of particular interest to

regulators: Are consumers deceived by fake discounts?

Results from behavioral economics provide additional and alternative explanations for why high

suggested prices might be effective in driving demand. Bordalo, Gennaioli and Shleifer (2013) argue

that salient attributes are overweighted by consumers when choosing between goods. They proceed

to show how this logic can explain “misleading sales,” which are mostly identical to the legalistic

definition of fictitious pricing. The key difference between their framework and the empirical setting

here is that retailers inflate original prices during misleading sales, instead of maintaining the same

false original price throughout a product’s lifetime.

Recently authors have begun to reconcile anomalous patterns in field data using concepts generated

in behavioral economics. One such example is Hastings and Shapiro (2012), who find that consumers

switch from premium to regular gasoline given a uniform price increase to an extent that cannot be

accounted for by wealth effects. They present this as evidence of mental accounting, which manifests

itself through the infungibility of money between an individual’s different purposes (Thaler 1985).

The above-mentioned theories frequently have conflicting predictions on both consumer behavior

and firm decisions, owing to difference in fundamental assumptions. (See Table 1 for a summary.

A similar table containing results in marketing research and a comprehensive list of references

is contained in Grewal & Compeau 1992.) Complementing these theories is a robust stream of

marketing research that seeks to measure the impact of reference prices on consumer perception

and behavior. An early instance is Blair and Landon (1981), who present example ads to shoppers

in a Houston shopping mall and elicit their understanding of the actual potential savings available

given the advertised reference prices. They find that, on average, shoppers do not accept the

full advertised savings at face value. The authors do not, however, establish the effects of these

reference prices on purchase probabilities. Plausible and exaggerated references prices have been

found in other work to have positive effects on purchase likelihoods, as well as a negative effect on

the likelihood of further search (e.g. Biswas & Blair 1991, Della Bitta, Monroe & McGinnis 1981,


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and Urbany, Bearden & Walker 1988).

Grewal and Compeau (1992) provide a discussion of the available evidence in marketing research

and explore its implications with respect to the prevailing FTC guidelines on deceptive advertising

and state-level statutes on allowable price claims. They place emphasis on the latitude sellers have

to make false price claims as well as the susceptibility of consumers to these claims. They conclude

by advocating strict adherence to truthful claims to sellers on an ethical basis, while recommending

stringent enforcement by regulators.

Prior research, beginning with the seminal work of Tversky and Kahneman (1981) and extending

into a substantial amount of marketing research has examined the role of various reference points,

and specifically in-store promotions, on consumer choice. Consumers have been found to consider

various price signals in addition to the current selling price when making purchase decisions, includ-

ing past-period promotions and other current-period prices (e.g. Lattin & Bucklin 1989, Mayhew

& Winer 1992, Rajendran & Tellis 1994, Kumar et al. 1998). In addition, consumers have also

been document to “discount” discounts, depending on the size of the discount (Gupta & Cooper

1992) or the frequency of promotions (Marshall & Leng 1992).

Perhaps because of the rareness of obtaining sales data that contain posted fake list prices, there

has been little empirical work performed within actual retail settings. The availability of sales data

from a seller that practices fictitious pricing presents a rare and unique opportunity to measure

the impact of different forms and levels of reference pricing on purchase outcomes. It is also an

opportunity to test and measure the relative importance of analytic results on the various forms of

discount pricing.



3    Data and industry background

Data is provided by a major fashion goods manufacturer and retailer in the United States. The

firm sells above 90% of its products by revenue through its own physical stores. The firm derives

the majority of its revenue from a single product category. This paper focuses on sales patterns

within this product category. The firm is the market leader in this category with a market share



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                      Table 1: Theories of fictitious pricing in economics

      Notion               Papers            Critical Assumptions            Predictions
                                                                        Less-informed
                                                                        consumers will be
                                             Some consumers
                    Bagwell & Riordan                                   more likely to buy
                                             mistakenly believe
  Signaling         (1991); Armstrong &                                 items with high
                                             that fake prices are
                    Chen (2013)                                         “original” prices then
                                             original prices.
                                                                        better-informed
                                                                        consumers.
                                             Demand is
                                                                        The firm finds it
                                             disproportionately
                    Armstrong & Chen                                    profitable to charge
  Bargain-hunting                            higher for
                    (2013)                                              different prices to
                                             unexpectedly low
                                                                        identical consumers.
                                             prices.
                                                                        Demand for higher
                                                                        quality goods will rise
                                                                        more after a uniform
                    Bordalo, Gennaioli &     Consumers overweight       price increase.
  Salience
                    Shleifer (2013)          “salient” attributes.
                                                                       Higher quality goods
                                                                       are more likely be put
                                                                       on sale.
 A similar table containing results in marketing research and a comprehensive list of references
                          is contained in Grewal and Compeau (1992).




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of about 40%.

The firm operates two types of stores: regular and outlet. Regular stores are centrally located in

cities and do not typically offer discounts on products. Outlet stores are located about an hour’s

drive away from city centers and offer deep discounts (both real and fake). The firm offers two types

of goods: original and factory. Original goods are first sold at full price in regular stores and

then sold at a discount in outlet stores. Factory goods are only sold in outlet stores. Table 2 shows

counts of unique products sold in the data by channel and product type. The firm implements a

fictitious pricing policy for its factory goods, by indicating list prices that are never actual selling

prices.

                   Table 2: Unique product counts by channel and product type

                                          Original products    Factory products
                      Regular channel                  7,167                    0
                      Outlet channel                   8,479                3,696


The data consist of transaction-level records over a 5-year period. Each record contains the list

price of each item and any active discount. Also included are consumer observables, including

billing zip code, date of first purchase from the firm, and household ID.

Consumers. A total of 16,019,140 unique consumers are observed to make purchases within the

sample. Repeat purchases by consumers are observable in the data. The proportion of purchases

that are made by return consumers is significant (see Figure 1). In the firm’s outlet channel, 24%

of purchases are made by return consumers. Of this group, 38% have made purchases in the regular

channel.

Products, prices, and channels. The firm produces different styles of its main product, and

offers each style in different colors. A product is defined by its style and color. Each style-color

combination has only one list price, but styles may vary in list price according to color. The list

price is set at the time of product introduction and never changes. The firm’s managers explain

that there are several reasons why list prices may vary between colors of the same style. One

reason is that some colors may be thought of as more desirable than others. Another reason is that

colors may be introduced at different times, with timing being a factor in determining a product’s


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                  Figure 1: Consumers by number of within-sample purchase instances




list price. Yet another reason is that some style-color combinations are regular or outlet channel-

specific. Variation in list prices within product styles provides a valuable source of identification.

Overall, there are 4,610 styles observed in the data, and an average of 2.93 colors in each style for

a total of 13,522 unique products sold.

Each style-color combination is either an original good or a factory good based on the channel in

which the product is introduced. Table 3 describes the pricing differences between original and

factory goods in outlet stores.5 Original goods are more expensive than factory goods on average,

both in terms of list prices and selling prices. However, there is much variation in these prices over

time, and factory goods occasionally carry higher prices than original goods (see Figure B in the

Appendix).

Figure 2 graphs the average percent discount over time for original goods and factory goods in the

firm’s outlet channel. Recall that original goods are sold at full price in the regular channel, while

factory goods are sold exclusively in the outlet channel. The similar trend in discount increase over

time for these two product classes reflects the firm’s policy of trimming prices at even rates across

all products over time, regardless of sales performance.
  5
      Further details are in appendix Table A.


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                       Table 3: Average prices in outlet format

                                        Original goods   Factory goods
                           List price       349.03          308.87
                                           [177.45]         [85.50]

                    Discount percent        50.84            58.90
                                           [13.81]          [11.74]

                  Transactional price      165.76           123.20
                                           [85.82]          [38.03]

                On-shelf composition       69.64%           30.36%

                Revenue composition      30.90%            69.10%
                          Standard errors are in brackets.




                   Figure 2: Discounting pattern in outlet channel




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         Figure 3: Observed selling prices of a typical factory good in the outlet channel




                       Note: The red line represents the product’s list price.



The pattern of discounting implemented by the firm in its outlet stores has store, period, and

product-specific components. Across stores and time periods, the firm implements randomized

discounting within certain parameters. Occasionally these discounts are also affected by outlet

mall-wide events. The product-specific component of discounting is highly correlated with the

product’s design age, i.e. the time since its introduction. Older-lived products are discounted more

heavily. Figure 3 plots the list price and observed selling prices for a representative factory good

over time, displaying the resulting discount pattern for a typical product.

The red line on Figure 3 marks the product’s list price. Every single purchase instance over the

product’s lifetime is plotted on the graph; not a single unit was sold at or even near the list

price. Not observable from the graph is that 94% of units were sold by the end of 2008. This

is consistent with high consumer values for a product’s newness in this industry. The remaining

purchase observations are consistent with statements by the firm’s executives that disavow the use

of discounting in order to clear inventory.




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4     Demand

In this section I present a parsimonious discrete choice model of consumer purchase behavior and

estimate its parameters using data from a major fashion goods retailer. The initial objective of

estimation is to determine whether fake list prices affect purchase behavior keeping all other product

attributes, including actual selling prices, constant. Subsequently, I measure how this effect varies

between consumer types, product classes, and store conditions. I proceed to decompose consumer

sensitivity into different components and ranges of discounting in order to identify the conditions

under which list prices are most impactful. Finally, I test for the significance of certain reference

points that may influence the effectiveness of discounting.



4.1   Baseline model

Let product j in store m and month t be defined by observable characteristics Xjt , unobservable

quality ξj , list price LPj , and selling price pjmt . The indirect utility of consumer i from purchasing

product j in market m at time t is



                              uijmt = αpjmt + Xjt β + γLPj + ξj +      ijmt                          (1)


where α, β, and γ, are parameters to be estimated, and     ijmt   are idiosyncratic demand shocks. This

form of utility is similar to previously considered specifications in which other price components or

reference prices are included as predictors of demand (e.g. Greenleaf 1995).

Letting   ijmt   be i.i.d. Type-I extreme value, and inverting the resulting system of market share

equations (Berry 1994), mean utilities δjmt can be written as



                       log(sjmt ) − log(s0mt ) = δjmt ≡ αpjmt + Xjt β + γLPj + ξj                    (2)


where sjmt are market shares and s0mt is the share of the outside good. A consumer is counted as

having chosen the outside good if she visited a store but did not make a purchase. Availability of

per-period foot traffic counts for each store enables direct measurement of these outside shares.

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Estimation of demand parameters is by regression of mean utility levels on observables. A market

is defined as a store-month. The market size is taken to be the foot traffic recorded in each

store-month. Product characteristics Xjt include product age and categorical variables relating to

style, color, silhouette, material, and collection.6 Store and month fixed effects are also included.

Descriptive statistics for these variables in the estimation sample are reported in Table 4.

                             Table 4: Descriptive statistics for estimation data

                                      Mean         St. Dev.                                           Count
         Market size                  8,841.77       5,925.55     Markets (store-months)                5,704
         Inside market shares           0.0011         0.0016     Stores                                  131
         Selling price                  137.58          55.26     Months                                   54
         List price                     325.24          98.74     Unique items (style-colors)          13,522
         Product age (days)             231.38         508.91     Styles                                4,052
         Factory dummy                    0.58           0.49     Colors                                1,164
                                                                  Materials                                48
                                                                  Silhouettes                              32
                                                                  Collections                              79


Table 5 contains the baseline results of demand estimation. Estimates from an OLS regression of

mean utility are reported in column 1. Dummies for each categorical variable, as well as for stores

and months, are included as explanatory variables. Style fixed effects are left out.7 As anticipated,

purchase probability is positively correlated with list price, negatively correlated with selling price,

and negatively correlated with product age. However, these estimates are possibly biased and

inconsistent due to a correlation between list price LPj , and consequently, selling price pjmt , and

unobservable quality ξj .

The general level of pjmt is determined via a national pricing strategy. Within product and time,

variation in pjmt arises from randomized experiments undertaken by the firm in order to gauge the

effectiveness of planned promotions, as well as by a systematic decline over product age, which is not

influenced by the sales performance of particular products. Therefore, any systematic correlation

between pjmt and ξj must follow the same mechanism as that between LPj and ξj , conditional on

product age agejt .
   6
     A collection is a set of products that share the same general design features. Products are presented in shelves
according to their collection in the firm’s regular channel. In the firm’s outlet channel, products are grouped according
to other physical characteristics.
   7
     There is no variation in materials, silhouettes, or collections within styles.



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                                   Table 5: Demand estimates


                         (1)             (2)             (3)           (4)            (5)
 VARIABLES               OLS             OLS             IV            OLS            OLS

 selling price pjmt   -0.00265***     -0.00226***    -0.00428***    -0.00122***    -0.00170***
                       [2.05e-05]      [1.64e-05]     [7.72e-05]     [2.48e-05]     [2.51e-05]
 list price LPj       0.000393***                                   0.00458***     0.00132***
                       [1.29e-05]                                    [0.000210]     [0.000225]
 discountjmt                          0.000393***    0.000340***
                                       [1.29e-05]      [1.31e-05]
 product age          -0.000139***   -0.000139***    -0.000182***   -0.000193***   -0.000428***
                        [2.34e-06]     [2.34e-06]      [2.85e-06]     [3.07e-06]     [3.66e-06]
 factory dummy           0.520***       0.520***        0.469***     -0.0928***     -0.0807***
                        [0.00269]       [0.00269]      [0.00330]      [0.00706]      [0.00796]

 store dummies            yes             yes            yes            yes            yes
 collection dummies       yes             yes            yes
 material dummies         yes             yes            yes
 silhouette dummies       yes             yes            yes
 color dummies            yes             yes            yes                           yes
 style dummies                                                          yes            yes

 constant              -7.449***       -7.449***      -6.873***      -7.626***      -6.650***
                         [0.691]         [0.691]        [0.693]       [0.0690]        [0.798]

 Observations          2,416,754       2,416,754      2,416,754      2,416,817      2,416,817
 R-squared               0.316           0.316          0.312          0.345          0.371
 Standard errors in brackets
 *** p<0.01, ** p<0.05, * p<0.1




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In columns 2 and 3 of Table 5, I include


                                      discountjmt ≡ LPj − pjmt                                      (3)


as a dependent variable instead of list price LPj (Greenleaf 1995). Assuming that discountjmt

follows a systematic pattern across products, as the firm’s managers claim, this leaves selling price

pjmt as the endogenous variable in the equation, instead of both pjmt and LPj . I instrument for

price using each product’s introduction date, coded as the number of days since a base date. While

the firm’s pricing benchmarks for new product introductions vary over time, there is no evidence

suggesting a relationship between a product’s introduction date and its quality. I present the OLS

version of the regression in column 2 of Table 5, and instrument for selling price in column 3.

As would be expected given the endogeneity of the price variable, the estimated price elasticity is

greater in the IV model. The coefficient on list price, however, is relatively stable in both OLS and

IV specifications. Table 6 contains estimates of the first stage regression for the IV model.

Columns 4 and 5 of Table 5 contain results of OLS regressions that include style fixed effects as

explanatory variables. The regression in column 5 includes color fixed effects as well. Including

style dummies rather than broader categorical product attributes improves goodness of fit and has

interesting effects on the estimated coefficients. The coefficient on selling price is much smaller

in absolute value than in earlier specifications. It is perhaps counterintuitive that estimated price

sensitivity is lower when controlling for more product attributes, as the typical concern is that

higher quality products are also higher priced. This is, however, consistent with the firm’s policy

of keeping bestselling styles on the shelf for longer at low prices, going so far as ordering additional

production lines to support further sales.

The estimated coefficient for list price (or discount) is much higher by an order of magnitude in the

last two specifications, which may also seem counterintuitive. We may have expected the opposite

pattern, with higher estimated list price effects when controlling less finely for product attributes,

given a supposed positive correlation between product quality and list price. One important factor

here may be the seller’s inability to precisely forecast the desirability of any particular product,

which results in some products with a higher list price being less desirable than products with lower



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                             Table 6: First stage regression


                                                             (1)
                  VARIABLES                          selling price pjmt

                  introduction datej                    -0.0432***
                                                        [0.000125]
                  discountjmt                           0.0608***
                                                        [0.000546]
                  agejt                                 -0.0620***
                                                        [0.000146]
                  factoryj                               -10.58***
                                                           [0.109]

                  store dummies                                yes
                  collection dummies                           yes
                  color dummies                                yes

                  constant                               1,022***
                                                          [26.39]

                  Observations                           2,464,200
                  R-squared                                0.322
                  Standard errors in brackets
                  *** p<0.01, ** p<0.05, * p<0.1




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list prices.

I choose the model used in column 5 of Table 5 as the preferred specification, and the baseline for

all succeeding analyses. This specification enables measurement of list price effects at the most

granular possible level given the context: variation in list prices between different colors of the

same style. This specification also precludes the need to use instrumental variables techniques, as

style and color fixed effects absorb all physical product attributes and prices are determined at the

national level.

As seen when comparing estimates in columns 4 and 5, controlling for color is important; clearly,

some colors are more preferable than others. Even after controlling for color, however, the measured

influence of list prices on purchase probabilities is large, rivaling that of selling price. Comparing

coefficients in column 5, a $1 increase in a product’s list price has the same effect on purchase

probabilities as a $0.77 decrease in selling price, all else held constant. Considering that a firm can

increase a firm’s list price at virtually no cost, this has potentially huge consequences for producer

and consumer welfare.

The ideal setting for measuring the effect of list prices on purchase likelihood is one in which list

prices are randomly assigned to products, or vary exogenously within products over time or loca-

tion. The current setting falls short of this ideal, but arguably comes close. The key identifying

assumption is that list prices are uncorrelated with unobservable product characteristics after con-

trolling for style and color. I argue that this is a weak assumption to make given the industry.

For this assumption not to hold true, it would have to be the case that: (i) there exist particular

colors and styles that are particularly good “matches” such that the fixed effects do not adequately

control for product desirability, and (ii) the seller is able to identify these matches and sets list

prices accordingly with consistent accuracy. The second condition is highly unlikely to be the case

in an industry characterized by high demand uncertainty.

I include quadratic terms for list price and discount, respectively, to the baseline model and present

the estimation results in Table 7. Somewhat puzzlingly, the estimates do not suggest a diminishing

marginal effect of list prices on purchase likelihood. In fact, the estimates in the second column of

Table 7 seem to suggest that discounts have an exponentially increasing positive effect on purchase



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                     Table 7: Quadratic terms for list price and discount


                                                      (2)             (3)
             VARIABLES                             List price      Discount

             selling price pjmt                   -0.00170***     -0.000456**
                                                   [2.51e-05]      [0.000227]
             list price LPj                       0.00221***
                                                   [0.000663]
             LPj2                                   -1.41e-06
                                                   [9.84e-07]
             discountjmt                                          -0.0804***
                                                                     [0.0246]
             discount2jmt                                         0.00148***
                                                                   [0.000230]
             factoryj                              -0.0807***     -0.0798***
                                                     [0.00796]      [0.00796]
             agejt                                -0.000428***   -0.000427***
                                                    [3.66e-06]     [3.67e-06]
             constant                               -6.753***      -6.634***
                                                      [0.801]         [0.798]

             Observations                           2,416,817      2,416,817
             R-squared                                0.371          0.371
             Standard errors in brackets
             *** p<0.01, ** p<0.05, * p<0.1




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likelihood. In the following subsections, I further explore this relationship by considering real versus

fake list prices separately, measuring how the effect differs by consumer experience with the brand,

and exploring the relevance of reference points.



4.2      Real and fake list prices

The presence of both real and fake list prices in the data enables a comparison of their effects on

purchase probabilities. A reasonable hypothesis might be that fake list prices have less of an impact

on purchase than a real list price. On the supply side, fake list prices are a lower commitment for

the firm than real list prices, and may thus be less anchored to product quality. On the demand

side, some consumers may observe the selling prices of items over time, and hence place more

weight on list prices that have been realized. From a regulatory perspective, the question is of

critical importance in determining the effects of fake prices on consumer welfare.

Table 8 contains results of regressions in which the effects of real and fake list prices are parsed. In

the first model, an interaction term for list price and the factory dummy is included. This provides

a direct measure of the difference in effects between real and fake list prices because only factory

goods carry fake list prices. Surprisingly, the coefficient estimate on the interaction term implies

that list prices on factory goods are even stronger inducements to purchase than those on original

goods.

In the second column of Table 8 discountjmt is decomposed into real and fake components. For

original goods, the entire discount is a real discount, and the fake discount is zero. For factory

goods, the real discount is the difference between the current period’s selling price and the maximum

selling price observed in the data. The fake discount is the difference between the maximum selling

price and the fake list price. Along similar lines to the specification in column 1, I find that the fake

discount component has a larger impact on purchase behavior than the real discount component.

These results show that fake list prices and discounts have effects on purchase behavior that may

rival those of real ones in magnitude. This raises interesting questions on the reasons behind this

demand response, as well as its implications on firm decisions. In the succeeding analyses, I explore

how consumer heterogeneity and reference points moderate these effects.


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                              Table 8: Real and fake list prices

                                                       (1)             (2)
             VARIABLES

             price pjmt                           -0.00170***      -0.000644***
                                                   [2.51e-05]        [0.000227]
             list price LPj                       0.000670***
                                                   [0.000227]
             LPj ∗ factoryj                       0.00175***
                                                   [8.23e-05]
             real discountjmt                                       0.00103***
                                                                     [0.000226]
             fake discountjmt                                       0.00140***
                                                                     [0.000225]
             factoryj                               -0.628***       -0.0912***
                                                     [0.0269]         [0.00799]
             agejmt                               -0.000430***     -0.000427***
                                                    [3.66e-06]       [3.66e-06]

             constant                               -6.529***       -6.623***
                                                      [0.798]         [0.798]

             Observations                           2,416,817       2,416,817
             R-squared                                0.371           0.371
             Standard errors in brackets
             *** p<0.01, ** p<0.05, * p<0.1




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4.3      Fake prices and consumer heterogeneity

Consumers who lack full information on product desirability may take price as a signal of quality

(Gerstner 1985). The availability of demand data that include both list and selling prices presents

an opportunity to cleanly measure this signaling effect separately from price sensitivity. If less-

informed consumers are more reliant on price as a signal of quality, then they should demonstrate

more sensitivity to list prices than better-informed consumers (Armstrong & Chen 2013).

The current context differs from the typical environment considered in theoretical models that

characterize price as a signal of quality. First, here we have a single firm selling multiple goods,

whereas the usual model has two or more firms of different “quality” with one representative

product each. Second, a standard assumption is for quality to be increasing in marginal cost, with

the higher-quality firm having a lower cost of quality, and hence a more credible commitment to keep

prices high. In the current example, higher-quality products are not necessarily more expensive to

produce, as desirability is greatly influenced by aesthetic components that do not affect production

costs.

While the current context has not specifically been explored in prior research, there are similar and

additional reasons why one might expect price to signal quality here. Even as a monopolist, a firm

may have an incentive to guide new, uninformed consumers toward better options within its own

product assortment so as to increase customer lifetime value. Fake list prices may play a special

role given the cost structure: because quality is not strongly related to marginal cost, the ability

to post fake list prices may relieve the tension of pricing against marginal cost to maximize profits

(downward pressure) while depending on price to signal quality (upward pressure).

To explore how sensitivity to list prices relates to consumer familiarity with the brand, I bucket

the purchase observations according to first-time and repeat consumers.8 The assumption is that

repeat consumers are better informed about product quality owing to their greater experience with

the brand. I estimate the baseline regression model for each bucket and present the results in Table

9. The estimates suggest that repeat consumers are in fact more sensitive to list prices. This runs

counter to the predictions of signaling models, suggesting that either the evolution of consumer
   8
    Unfortunately, outside shares cannot be directly bucketed in the same way. I take the ratio of purchases of minor
product categories and apply them to the outside shares for estimation purposes.


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                                       Table 9: New vs old consumers

                                                      (1)                  (2)
                          VARIABLES              New consumers        Old consumers

                          selling price pjmt       -0.00802***          -0.00815***
                                                     [3.77e-05]           [3.62e-05]
                          list price LPj            0.00588***           0.00689***
                                                    [0.000302]           [0.000284]
                          product age              -2.67e-05***         -9.53e-05***
                                                     [4.59e-06]           [4.30e-06]
                          factory dummy             0.0289***            -0.0366***
                                                      [0.00972]            [0.00898]
                          constant                   -4.435***            -4.332***
                                                       [0.489]              [0.340]

                          Observations          1,166,638        1,269,551
                          R-squared               0.444            0.411
                          Standard errors are in brackets.
                          Style and color dummies included in regression.
                          *** p<0.01, ** p<0.05, * p<0.1


information or the role of list prices is more complex.

As an alternative approach, I limit the sample to include only old consumers, and then divide the

sample according to consumers who have visited the regular store in the past and those who have

not. The corresponding estimates are reported in Table 10, where column 1 contains estimates

from a sample with customers who have only shopped at the outlet store, and column 2 contains

estimates from a sample with customers who have bought a least one item from the regular store.

Strikingly, although full-price shoppers are much less sensitive to selling prices than pure outlet

shoppers, they share almost the same sensitivity to list price.9

These estimates imply that while a list price may function as a signal of quality, it works in

conjunction with other factors. It is also likely that the signaling mechanism is more nuanced

than what these simple demand models can capture. Perhaps most importantly, this evidence runs

counter to the simple narrative that fake list prices merely deceive uninformed consumers.
   9
     Table B in the appendix estimates the interaction between list prices and the factory dummy for the two groups.
As with regression including the full sample of consumers, both groups place higher weight on fake list prices on
factory goods, although consumers who have previously visited the full-price channel seem to place a relatively
lighter emphasis.




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                            Table 10: Pure outlet vs full-price shoppers

                                                  (1)              (2)
                          VARIABLES            Pure outlet      Full-price

                          selling price pjmt   -0.00955***    -0.00517***
                                                 [6.39e-05]     [4.73e-05]
                          list price LPj        0.00673***     0.00608***
                                                [0.000725]     [0.000387]
                          product age          -1.45e-05***   -6.31e-05***
                                                 [2.00e-06]     [8.98e-06]
                          factory dummy          0.0352***     -0.0317***
                                                 [0.00578]       [0.00733]
                          constant               -4.245***      -4.750***
                                                   [0.285]        [0.486]

                          Observations         1,085,735     1,118,885
                          R-squared              0.493         0.524
                          Standard errors are in brackets.
                          Style and color dummies included in regression.
                          *** p<0.01, ** p<0.05, * p<0.1


Thus far, the estimation has permitted list prices to affect demand only as absolute quantities,

without allowing for possible dependence of the effect on particular reference points. Prior research

has established the relevance of reference points in similar settings (e.g. Mayhew & Winer 1992,

Rajendran & Tellis 1994) as well as reasons for setting fake list prices that stem from reference

dependence (Armstrong & Chen 2013, Bordalo et al. 2013). In the following section I allow for

reference dependence and explore its implications.



4.4   Reference points

The notions of price as a signal of quality and bargain-hunting behavior among consumers are

closely linked in this empirical setting. An offered discount can only be considered a genuine

“deal” if the original price is a dependable measure of the product’s quality. Contextual reference

points may influence shoppers’ judgment in this regard (Rajendran & Tellis 1994). The extent to

which consumers respond to high original prices, or equivalently high discounts, may depend on

the average level of discounting, the dispersion in discounts, or other reference points.

In what follows I focus on reference points that are specific to a store-month, as opposed to reference


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points that are specific to products or arise from prior time periods. Given the infrequency of

purchase in the product category, it is highly unlikely that price levels in previous periods form

relevant reference points on the product level. The hypothesis is that a consumer’s valuation of a

specific discount offer is influenced by its distance to a reference point related to other offers in the

store during the same shopping occasion (e.g. Tversky & Kahneman 1985, Lattin & Bucklin 1989).

These reference points, termed contextual (vs temporal) by Rajendran & Tellis (1994) and external

(vs internal) by Mayhew & Winer (1992) have been shown in the prior literature to frequently

outweigh other reference points.

I consider two reference points that a consumer may be working off in judging the value of an

offered discount: the lowest available discount in the store and the average available discount in

the store. These reference points correspond to those examined by Rajendran & Tellis (1994), but

differ in that these focus on the distribution of discounts rather than prices.

I operationalize the estimation of these reference points differently from prior literature. I decom-

pose each product’s discount into a store-wide reference point and the product-specific distance

from this reference point, where lowest discountmt is the lowest offered discount in the store10 ,

average discountmt is the average discount in the store, and distance1jmt and distance2jmt are the

respective distances. A significant difference in the estimated coefficients for the reference point

and the corresponding product-specific distance would provide supporting evidence for the reference

point’s relevance in consumer decision-making.

The results, presented in Table 11, strongly suggest that the lowest offered discount in the store

serves as an important reference point. In fact, as seen in column 2 of Table 11, the entire impact

of a discount on purchase likelihood comes from its distance from this reference point. Strikingly,

purchase likelihood is invariant to the level of the reference point itself. The estimated coefficients

for average discountmt and distance2jmt , while statistically different from each other, are much

closer in magnitude than those for lowest discountmt and distance1jmt . This mirrors the result

from Rajendran & Tellis (1994), in which the lowest in-store price is found to be more salient to

consumers than the average price.
  10
     The lowest offered discount is never zero in the firm’s outlet stores, from which the data for this analysis has
been collected.




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                                Table 11: Reference points


                                          (1)              (2)               (3)
     VARIABLES                          Baseline     Lowest discount   Average discount

     price pjmt                       -0.000383*       -0.000433*         -0.000378*
                                      [0.000226]       [0.000226]         [0.000226]
     discountjmt                      0.00132***
                                      [0.000225]
     distance1jmt                                      0.00162***
                                                       [0.000225]
     lowest discountmt                                  -8.83e-05
                                                       [0.000229]
     distance2jmt                                                         0.00129***
                                                                           [0.000225]
     average discountmt                                                   0.00146***
                                                                           [0.000231]
     factoryj                          -0.0807***      -0.0652***         -0.0827***
                                        [0.00796]        [0.00797]          [0.00799]
     agejmt                           -0.000428***    -0.000408***       -0.000430***
                                        [3.66e-06]      [3.71e-06]         [3.76e-06]
     constant                           -6.650***       -6.563***          -6.669***
                                          [0.798]         [0.798]            [0.798]

     Observations                      2,416,817        2,416,817         2,416,817
     R-squared                           0.371            0.371             0.371
     Standard errors in brackets
     *** p<0.01, ** p<0.05, * p<0.1




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These results resolve two puzzles from earlier estimates. The insignificant effect of a discount up

to the minimum level offered in a store explains the exponentially increasing effect of list prices

presented in Table 7. Given that original goods carry lower discounts on average (see Figure 2),

this also demonstrates why the estimates in Table 8 imply that fake list prices have a larger effect

on purchases than real ones.

A look at the distribution of available discounts over time suggests that the firm has been decreasing

the dispersion of available discounts even as it increases the average (see Figure A in the appendix).

At the same time, the firm has been decreasing the scope of product-specific discounts relative to

market-specific discounts. The results in this section would imply that the firm should reconsider

this strategy, and instead pay closer attention to the lower end of discount magnitudes in its stores,

which consumers seem to treat as a salient baseline.

These results also point to the flip side of fictitious pricing. While fake discounts may drive revenues

for individual products, over time consumers may take the overall level of discounting as a given and

“discount” the discounts (e.g. Gupta & Lee 1992, Marshall & Leng 2002). Indeed, the estimates

show that consumers take the discount floor for granted. Even though, as the estimates in Table 8

imply, consumers may have a poor ability to distinguish real from fake discounts, the proliferation

of discounts may be disciplined by reference dependence.



4.5   Intertemporal substitution

The static framework adopted in this paper is only appropriate if, as the market environment

suggests, consumers do not delay their purchases in expectation of higher discounts in the future.

Consumers have been documented to time their purchases to correspond with periodic promotions

(e.g. Hendel & Nevo 2011) or to take advantage of declining prices over time (e.g. Nair 2007). If

this behavior exists in a market and is ignored in demand estimation then the estimated coefficient

on price may be biased. I argue that the empirical setting considered here is not conducive to

either of these substitution behaviors. Unlike those in grocery stores, outlet store promotions are

irregularly timed and difficult to schedule visits over. Although the selling price for each product

does systematically decline over time, so does the product’s inherent attractiveness as a fashion



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                                 Table 12: Past-period price effects

                                                              (1)


                                price pj,t               -0.00132***
                                                           [3.89e-05]
                                previous price pj,t−1   -0.000782***
                                                           [4.02e-05]
                                LPj                      0.00114***
                                                           [2.49e-05]
                                agejmt                  -0.000294***
                                                           [1.12e-05]
                                factoryj                  -0.0861***
                                                            [0.00947]
                                constant                   -6.401***
                                                             [0.142]

                                Observations            1,771,541
                                R-squared                 0.375
                                    Standard errors in brackets
                                 *** p<0.01, ** p<0.05, * p<0.1


good.

I include past-period selling price pj,t−1 in the regression equation to assess if intertemporal substi-

tution is in fact an important factor in purchase decisions. Controlling for the current period’s price,

the coefficient on the past period’s price should be positive if consumers time their purchases to

take advantage of lower prices. The estimated coefficient turns out to be negative and statistically

significant but small (see Table 12), suggesting a lack of intertemporal substitution.



5    Conclusion

Price comparisons of practically every shape and form have been heavily used by retailers in their

communications from the very earliest examples of retail advertising up to the current shift to

e-commerce. The question of how these signals affect purchase behavior is relevant to firms, regula-

tors, and consumers themselves. Firms, in posting list prices different from selling prices, possess a

potentially powerful driver of demand that is virtually costless to produce and adjust. Regulators

face the challenge of assessing whether list prices inform or deceive, and ultimately whether they


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enhance or damage consumer welfare. Consumers may be surprised to find out how list prices are

determined, and the extent to which their own decisions are reliant on them.

The results show that list prices have significant effects on purchase decisions that may operate

through several channels. On average, consumers may be thought of as assigning a monetary value

to list prices at over 70 “selling price cents” to a “list price dollar.” This rate seems invariant to

the consumer’s depth of experience with a brand, with repeat customers placing as much weight

on list prices as new customers.

In addition, consumer values for discounts depend on market-specific reference points. The mini-

mum offered discount in a store is appears to be a highly influential reference point, with product-

specific discounts being judged according to their distances from this minimum. In addition, the

magnitude of the minimum discount itself appears have little effect on purchase likelihoods. These

suggest that optimal price-setting by the firm should incorporate reference dependence in consumer

behavior.

The empirical setting in this paper induces some limitations. The single-firm data source used in

this paper precludes studying the competitive aspects of fake list pricing, such as possible impacts

on consumers’ likelihood of further search (e.g. Grewal & Compeau 1992). Although, to my

knowledge, this paper is the first to exploit real transactions data to investigate fake list prices,

identification of the effect of fake pricing on purchase likelihood also falls short of that which may

be obtained from field experimentation.

Given the effect of list prices on purchase behavior, a potentially worthwhile area for future research

lies in empirically modeling the seller’s problem when setting fake list prices. The persistence of

fake pricing despite frequent high-profile lawsuits against the practice suggests that it is indeed

profitable for sellers to pursue. On the other hand, the practice does seem to be disciplined by

natural constraints that result in its familiar patterns within industries. It would be of particular

interest for regulators to identify these constraints in their efforts to curtail this practice and protect

consumer interests.

Differences between industries may also merit future investigation. The existing scholarly literature

on price as a signal of quality and regulatory guidelines frequently cast “fictitious” list prices


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as a means of deceiving uninformed consumers. This literature relies on the strictly monotonic

relationship of quality and marginal cost as providing credibility to actual selling price as a signal

of quality. Some industries may be better represented by production functions in which quality is

generated through a stochastic process only weakly correlated with marginal cost, with fake list

prices used to reduce asymmetric information about quality between the firm and consumers. Such

a viewpoint may better suit settings in which quality can only imperfectly be set by firms, such as

in fashion and design related industries.



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Appendix

                             Table A: Frequency of list price values

 List price   Percent of products   Average transacted price   Discount   Percent original styles
       298                 15.84                     114.63       60.68                    40.80
       398                 10.87                     149.30       61.21                    45.65
       358                  9.14                     141.59       59.93                    37.93
       348                  6.54                     123.45       63.82                    61.45
       328                  6.38                     104.72       67.30                    74.07
       198                  5.67                      96.00       50.52                     9.72
       278                  4.33                     113.80       58.13                    12.73
       498                  4.02                     190.59       61.08                    17.65
       268                  3.62                     102.72       59.97                    32.61
       598                  3.23                     249.80       57.55                     9.76
       248                  2.60                      91.30       62.32                    57.58
       258                  2.52                      91.38       61.35                     6.25
       458                  2.29                     150.79       66.45                    27.59
       428                  2.29                     149.41       64.37                    72.41
       378                  2.21                     129.50       64.31                    60.71




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         Table B: Consumer sensitivity to list prices by previous purchase channel

                              (1)            (2)            (3)           (4)
          Shopper type     Pure outlet    Pure outlet    Full-price    Full-price

          pj               -0.00955***    -0.00955***   -0.00517***   -0.00517***
                             [6.39e-05]    [6.39e-05]    [4.73e-05]     [4.73e-05]
          LPj               0.00673***    0.00256***    0.00608***     0.00420***
                            [0.000725]     [0.000482]    [0.000387]    [0.000167]
          LPj × f actory                  0.00885***                  0.00633***
                                           [0.000221]                  [0.000467]
          constant          -4.245***      -4.328***     -4.750***      -4.775***
                              [0.285]        [0.291]       [0.486]        [0.487]

          Observations      1,085,735     1,085,735     1,118,885      1,118,885
          R-squared           0.493         0.493         0.524          0.524
                                Standard errors in brackets
                             *** p<0.01, ** p<0.05, * p<0.1




                     Figure A: Average discount percent in outlet stores




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                           Figure B: Prices over time




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